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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION




TWANDA MARSHINDA BROWN, et al.;

                    Plaintiffs,

             v.                                      Case No. 3:17-cv-01426-MBS

LEXINGTON COUNTY, SOUTH CAROLINA, et al.;

                    Defendants.



                      MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                       INTRODUCTION

       In 2017, Plaintiffs filed suit to challenge two fundamental constitutional violations in

Lexington County: (1) that the County was violating the Sixth Amendment by refusing to

provide adequate access to counsel for indigent defendants in the Lexington County Magistrate

Courts (LCMC); and (2) that the County’s Chief and Associate Chief Magistrate Judges were

violating the Sixth and Fourteenth Amendments by overseeing and sanctioning uniform, county-

wide debt collection practices that required the jailing of indigent defendants for nonpayment of

fines and fees—without appointment of counsel and without any determination that their

nonpayment was willful. Five years and countless pages of discovery later, no doubt remains:

these practices have long existed, they violate the Constitution, and they demand relief.

       Lawyers in criminal cases are necessities, not luxuries. As Gideon v. Wainwright

established almost six decades ago, the Sixth Amendment requires access to counsel for every

criminal defendant who faces the possibility of incarceration; and if the defendant is indigent,

counsel must be appointed free of charge. Despite these clear demands, undisputed evidence

shows that Lexington County—the entity responsible for funding indigent defense in the

LCMC—has utterly failed to answer Gideon’s call.

       In the last twelve years, the Lexington County Council has either completely denied or

substantially underdelivered on nearly every funding request made by the head Public Defender.

This is most acute in the LCMC, where the Council has repeatedly refused to fund indigent

defense. For example, until 2013, there was not a single public defender available in the LCMC.

And although there is now funding for three, their capacity can only cover appointments for

approximately 20% of eligible cases. Thus, thousands of indigent defendants are left to fend for

themselves without counsel. This appointment rate pales in comparison to the 70% appointment

rate in the County’s General Sessions Court and simply cannot be explained by a disinterest in

free counsel. In light of this evidence, summary judgment is appropriate against Lexington

County on Plaintiffs’ Sixth Amendment claims. Providing counsel for a fraction of eligible cases




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is grossly inadequate. Injunctive relief is necessary to ensure Plaintiffs’ and Class Members’

rights to counsel are preserved and protected.

       Plaintiffs’ Sixth and Fourteenth Amendment claims against the Chief and Associate

Chief Judges are similarly beyond dispute. Defendants admit that for decades, the LCMC had a

practice of arresting and jailing indigent criminal defendants on bench warrants issued for

nonpayment of fines and fees. And despite the clear demands of Gideon and Bearden v. Georgia,

Defendants admit this routinely occurred without the provision of counsel and without a hearing

to determine that nonpayment was willful. Evidence shows the practice was widespread,

uniform, and designed as a mechanism for ensuring the LCMC collected the fines and fees it

imposed. The practice led to the unconstitutional incarceration of thousands of individuals—

including Plaintiffs—who were detained for periods of time ranging from seven to sixty-three

days, all because they could not afford to pay their court debts.

       Importantly, Plaintiffs do not press a theory of liability that relies on a judicial act by a

named Defendant. Instead, the evidence shows that the Chief and Associate Chief Judges caused

Plaintiffs and Class Members to suffer constitutional injuries in two ways: (1) by

administratively sanctioning, implementing, and failing to remediate the LCMC’s

unconstitutional policies and procedures for the collection of fines and fees; and (2) by failing to

adequately supervise the other magistrate judges in Lexington County.

       During their tenures, the Chief and Associate Chief Judges were responsible, by order of

the Chief Justice of the South Carolina Supreme Court, for monitoring all summary court judges,

establishing uniform procedures, and setting county-wide policies for the collection of court

generated revenues. Despite their familiarity with these responsibilities, Defendants Reinhart and

Adams testified that until Adams implemented the Setoff Debt Program in 2018, they eschewed

their administrative authority to implement new policies and procedures for collecting fines and

fees in the LCMC. Instead, they chose to continue longstanding unconstitutional policies and

procedures like the Default Payment Policy and Trial in Absentia Policy. Likewise, they testified




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that they rarely, if ever, exercised their supervisory authority and elected instead to allow other

magistrate judges to operate without oversight.

        Because their administrative acts and omissions caused Plaintiffs’ unconstitutional

incarcerations, Defendants Reinhart and Adams are liable in their individual capacities under

Section 1983 for damages. Similarly, because Defendants Johnson and Morgan have authority as

the current Chief and Associate Chief Judges to abandon the Setoff Debt Program and revert to

debt-collection policies and procedures that violate the Sixth and Fourteenth Amendments,

prospective injunctive relief is appropriate against them in their official capacities to prevent

future constitutional violations. Finally, prospective declaratory relief against Defendant Adams,

in her official capacity, is appropriate because Plaintiff Xavier Larry Goodwin faces a real and

immediate threat of future arrest and incarceration, without access to counsel or a hearing, for his

inability to pay fines and fees to the Irmo Magistrate Court, where Defendant Adams currently

sits.

        On these claims, the facts are undisputed and the law well settled. Plaintiffs therefore ask

the Court to order summary judgment on their claims against Defendant Lexington County,

Defendants Reinhart and Adams in their individual capacities, and Defendants Johnson, Morgan,

and Adams in their official capacities.

                                   STATEMENT OF FACTS

I.      Plaintiffs were arrested and incarcerated because of unconstitutional policies and
        procedures of jailing people for nonpayment of court fines and fees without a pre-
        deprivation hearing on ability to pay and without access to counsel.

        Plaintiffs were arrested and jailed for periods of time ranging from seven to sixty-three

days because they could not afford to pay debts owed to the Lexington County Magistrate Courts

(LCMC). The Lexington County Sheriff’s Department made these arrests pursuant to standard

bench warrants issued by the LCMC. After arrest, Plaintiffs were transported to jail and then

given the option to pay all fines and fees owed or, if they could not afford to do so, serve a fixed

period of jail time. No court hearings were held to determine whether the failure to pay was



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willful, and no public defenders were offered to assist Plaintiffs in demonstrating their indigence.

Plaintiffs could not afford to pay the imposed fines and fees. As a result, each was incarcerated

without a pre-deprivation ability-to-pay hearing, without any notice of the right to request

counsel, and without the assistance of a court-appointed attorney to defend against their unlawful

jailing. ECF No. 66-1 ¶¶ 3–7, 13–14 (Brown); ECF No. 66-2 ¶¶ 13–17, 26–27 (Darby); ECF No.

66-3 ¶¶ 19–20 (Palacios); ECF No. 66-4 ¶¶ 17–20 (Corder); ECF No. 66-5 ¶¶ 10–14 (Goodwin);

Decl. of Cayeshia Cashel Johnson in Supp. of Pls.’ Mot. For Summ. J. ¶¶ 13–16 (Johnson Decl.);

Decl. of Raymond Wright, Jr. in Supp. of Pls.’ Mot. For Summ. J. ¶¶ 8–10 (Wright Decl.).

       Plaintiff Twanda Marshinda Brown is a single working mother. ECF No. 66-1 ¶¶ 1–2. In

April 2016, the Irmo Magistrate Court sentenced Brown to pay $2,337.50 in fines and fees for

traffic tickets. ECF No. 29-2 ¶ 3a; ECF No. 66-1 ¶ 3. Brown was unable to pay the amount owed

in full, and she was placed on a payment plan ordering her to make $100 monthly payments

despite her informing the court she could not afford this. ECF No. 66-1 ¶¶ 4–5. The court—

without assessing her ability to pay—sentenced her and placed her on the payment plan. Id.

Brown made the first five payments but was unable to pay more. Id. ¶ 8; ECF No. 29-2 ¶ 3a.

       On February 18, 2017, Brown was arrested and jailed at the Lexington County Detention

Center. ECF No. 66-1 ¶¶ 10–11. There, she was served with a nonpayment bench warrant

ordering her to pay $1,907.63 in fines or serve ninety days in jail. Id.; ECF No. 21-9. Unable to

pay the fines, she was jailed for fifty-seven days, the minimum amount of time required with

credits for good behavior. ECF No. 66-1 ¶ 12; ECF No. 29-2 ¶ 3a. While jailed, Brown was

separated from her children, and she lost her job. ECF No. 66-1 ¶¶ 12, 15–16. Upon release,

Brown had difficulty finding new employment. Id. ¶ 17.

       Plaintiff Sasha Monique Darby is a single working mother who suffers from Post-

Traumatic Stress Disorder. ECF No. 66-2 ¶¶ 1–3. On August 23, 2016, Darby appeared without

counsel in Irmo Magistrate Court and was convicted of assault and battery in the third degree. Id.

¶¶ 10–16. The court imposed $1,000 in fines and fees, but Darby was unable to pay the full

amount at sentencing. Id. ¶¶ 17–19. She was placed on a plan requiring $150 monthly payments


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without any assessment of her ability to pay, even though this was beyond what she had said she

could afford. Id. After making some of the payments, Darby was unable to pay more. Id. ¶¶ 21–

22; ECF No. 21-8 ¶ 8.

       On March 28, 2017, Darby, who was pregnant at the time, was arrested and taken to the

Detention Center. ECF No. 66-2 ¶¶ 23–25; ECF No. 29-2 ¶ 3d. There, she was served with a

nonpayment bench warrant ordering her to pay $680 or spend twenty days in jail. ECF No. 66-2

¶¶ 23–25; ECF No. 21-11. Unable to pay, she was jailed for twenty days. ECF No. 66-2 ¶¶ 23–

25; ECF No. 29-2 ¶ 3d. She did not get sufficient food or medical care for her pregnancy while

in jail, and she missed her first prenatal doctor’s appointment. ECF No. 66-2 ¶¶ 28–30. Her

incarceration caused her to lose her job and home. Id.

       Plaintiff Cayeshia Cashel Johnson is a single working mother. Johnson Decl. ¶ 1. In

August 2016, Johnson was ticketed for five traffic tickets and one misdemeanor offense in

Lexington County, three hours away from her home in Myrtle Beach, South Carolina. Id. ¶¶ 3, 5;

ECF No. 29-2 ¶ 3c. The tickets required her to appear in the Central Traffic Court on September

22, 2016. ECF No. 29-2 ¶ 3c. Before her hearing, Johnson called to inform the court she could

not secure transportation to the courthouse on that date. Johnson Decl. ¶ 7. Nonetheless, on

September 22, 2016, Johnson was tried in absentia, convicted, and sentenced to $1,287.50 in

fines or eighty days in jail. ECF No. 29-2 ¶ 3c. Four days later, the court issued a nonpayment

bench warrant ordering her arrest and jailing. Id.; ECF No. 21-13.

       On February 13, 2017, Johnson was arrested during a traffic stop in Myrtle Beach and

transported to the Detention Center. Johnson Decl. ¶¶ 11–13. In jail, she was served the

nonpayment bench warrant. Id. This was the first notice Johnson received that she had been tried

in absentia. Id. Johnson was unable to pay $1,287.50, so she was jailed for fifty-five days with

good time credit. Id. ¶ 14; ECF No. 29-2 ¶ 3c. During her two months in jail, Johnson was

separated from her children, lost all three part-time jobs she held before her arrest, and suffered

emotional distress and severe headaches. Johnson Decl. ¶¶ 17–19.




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       Plaintiff Amy Marie Palacios is a single working mother. ECF No. 66-3 ¶¶ 1. In October

2016, Palacios was ticketed for driving with a suspended license, and was required to appear in

the Central Traffic Court on November 10, 2016. Id. ¶ 5. Before her hearing, Palacios called the

court to say she could not appear on that date due to a work conflict and submitted an affidavit to

that effect from her employer. Id. ¶¶ 6–10, Ex. A. Despite this, on November 10, 2016, Palacios

was tried in her absence, convicted, and sentenced to $647.50 in fines or thirty days in jail. ECF

No. 29-2 ¶ 3b. Five days later, the court issued a nonpayment bench warrant ordering her arrest

and jailing. Id.; ECF No. 21-15.

       On February 25, 2017, Palacios was arrested during a traffic stop pursuant to that

warrant. ECF No. 66-3 ¶¶ 12–17. This was the first notice Palacios received that she had been

tried in absentia. Id. Palacios was unable to pay $647.50, so she was jailed for twenty-one days

with good time credit. Id. ¶ 18; ECF No. 29-2 ¶ 3b. While in jail, Palacios was separated from

her children, lost her job, and suffered emotional distress and ill health without access to proper

medical care. ECF No. 66-3 ¶¶ 21–23.

       Plaintiff Nora Ann Corder was ticketed for three traffic offenses during the same stop in
January 2017. ECF No. 66-4 ¶ 7. Corder appeared in the Lexington Magistrate Court on three

separate dates between February and April 2017 to answer for the tickets, but her case was

continued each time. Id. ¶ 12. Corder was directed to return to court again on May 17, 2017, but

she could not appear on this date due to lack of transportation. Id. ¶¶ 13–14. On May 17, 2017,

Corder was tried in absentia, convicted, and sentenced to $1,320 in fines or ninety days in jail.

ECF No. 29-2 ¶ 3e. She found out about her sentence after she called the court herself. ECF No.

66-4 ¶¶ 15–17.

       Around this time, Corder was facing eviction from her home because she could not afford

to pay her rent. Id. ¶¶ 18–19. On May 26, 2017, she went to the court to file forms in defense of

her eviction proceeding. Id. Corder was arrested at the courthouse pursuant to a nonpayment

bench warrant. Id.; ECF No. 29-2 ¶ 3e. She was unable to pay $1,320, so she was jailed for fifty-




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four days with good time credit. ECF No. 66-4 ¶¶ 17–20; ECF No. 29-2 ¶ 3e. As a result, Corder

lost her home and her job. ECF No. 66-4 ¶ 21.

       Plaintiff Xavier Larry Goodwin, a class representative in this case, ECF No. 227 at 22, is

an indigent man and the principal provider for six dependents. ECF No. 35-1 ¶¶ 1–2; ECF No.

66-5 ¶ 1. In July 2016, Goodwin was ticketed for five traffic offenses and directed to appear in

the Central Traffic Court on August 9, 2016. ECF No. 66-5 ¶¶ 3–4. He informed the court that he

could not appear that date due to work. Id. ¶ 5. Despite this, on August 9, 2016, Goodwin was

tried in absentia, convicted, and sentenced to $1,710 in fines or ninety days in jail. ECF No. 21-

17; ECF No. 21-18. The next day, the court issued a nonpayment bench warrant for Goodwin’s

arrest and jailing. ECF No. 21-17.

       On February 2, 2017, Goodwin was ticketed for driving under a suspended license, 3rd

offense (DUS-3), and arrested pursuant to a nonpayment bench warrant issued after his

conviction on August 9, 2016. ECF No. 66-5 ¶¶ 7–8. In jail, he was served with the nonpayment

bench warrant, his first notice that he had been tried in absentia for the July 2016 tickets. Id.;

ECF No. 21-17. Goodwin was unable to pay $1,710, so he was incarcerated for sixty-three days

with good time credit. ECF No. 66-5 ¶¶ 9, 12; ECF No. 29-2 ¶ 3g. Although Goodwin was taken

to Bond Court the day after his arrest for the new DUS-3 ticket, the judge did not address his

incarceration on a nonpayment bench warrant and did not inquire into his ability to pay the

$1,710. ECF No. 66-5 ¶ 10. While he was incarcerated, Goodwin lost his home and the job he

had held for thirteen years, was separated from his family, and suffered emotional distress and

headaches. Id. ¶¶ 15–18.

       On April 4, 2017, while Goodwin was still in jail, he was transported to the Irmo

Magistrate Court for a hearing in front of Defendant Adams on his DUS-3 ticket. Id. ¶ 14; ECF

No. 35-1 ¶¶ 6; Ex. 1.1 Goodwin pleaded guilty to DUS-3 and was sentenced to ninety days in jail


1
 Unless otherwise noted, all exhibits are attached to the Declaration of Toby J. Marshall in
Support of Plaintiffs’ Motion for Summary Judgment.


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and the payment of $2,100 in fines and fees, with credit for time served on his jail sentence. ECF

No. 35-1 ¶¶ 7–9. Defendant Adams, without any assessment of his ability to pay, directed

Goodwin to return to court and set up a payment plan within thirty days of his release from jail.

Id. ¶ 10. Defendant Adams also threatened to have Goodwin arrested and incarcerated again if he

failed to set up a payment plan. Id. On May 5, 2017, Goodwin went back to the Irmo Magistrate

Court to establish the payment plan and was required to make $100 monthly payments, despite

his explanation that he had just been released from jail and did not yet have a job. Id. ¶¶ 14–16.

       Goodwin remains indigent and still owes fines and fees to the Irmo Magistrate Court for

his DUS-3 offense. Id. ¶¶ 18, 21–24; Ex. 1. Goodwin and his family do not have a home and

continue to face great difficulty paying for even basic necessities. ECF No. 35-1 ¶ 18. Goodwin

also owes fines, fees, and court costs for other traffic court charges and more than $10,000 in

past due child support. Id. ¶ 19. Despite his best efforts, Goodwin remains unable to make

payments on his court debt. Id. ¶¶ 20–24. He lives in fear that he will be arrested and

incarcerated again for failure to pay fines and fees to the Irmo Magistrate Court. Id. He currently

has an outstanding balance of $2,163 for his DUS-3 offense. Id.; Ex. 1.

       Plaintiff Raymond Wright, Jr., a class representative in this case, ECF No. 227 at 22, is

disabled and unemployed. ECF No. 35-2 ¶¶ 1, 6. In July 2016, Wright appeared in the Central

Traffic Court and pleaded guilty to DUS-1. Id. ¶¶ 3–4. He was sentenced to pay $666.93 in fines

and fees. Id.; ECF No. 29-2 ¶ 3f. The judge asked Wright if he could pay in full, and Wright

explained that he could not. ECF No. 35-2 ¶¶ 4–5. The judge ordered him to pay $50 monthly

without any assessment on his ability to pay. Id. The judge told Wright that he would be arrested

and jailed if he did not make the monthly payments. Id. Wright faced difficulty making the $50

monthly payments. Id. ¶¶ 6–7. After five payments, he was unable to pay any more. Id.

       On April 19, 2017, Wright appeared in the Central Traffic Court for a show cause

hearing. Id. ¶ 8; ECF No. 29-2 ¶ 3f. Wright explained to the judge that he was unable to pay due

to financial hardship. ECF No. 35-2 ¶¶ 9–11. Still, the judge told Wright that he would be jailed

unless he paid $416.93 in full within ten days. Id. The judge did not ask him about his ability to


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pay and refused to see the bills and other documents Wright brought to court to show he was

unable to pay. Id. Wright asked the judge if he could make partial payments, but the judge

informed him that the court would only accept payment in full. Id. ¶¶ 12–13. Wright was unable

to pay $416.93 by April 29, 2017. Id.

         On July 25, 2017, Wright was arrested pursuant to a nonpayment bench warrant. Wright

Decl. ¶ 2. Because he could not pay $416.93 at booking, he was jailed. Id. ¶ 3. While

incarcerated, Wright suffered severe intestinal bleeding. Id. ¶ 4. He was taken to the Lexington

Medical Center where he received medical treatment while handcuffed and chained to his

hospital bed. Id. ¶ 5. He was incarcerated for seven days. Id. ¶ 7. Wright was never taken to

Bond Court or any magistrate court in Lexington County for an ability-to-pay hearing for his

fines and fees, either before or after being booked into jail. Id. ¶ 8. Nobody offered to connect

him with an attorney. Id. ¶ 9.

II.      The practice of automatically issuing nonpayment bench warrants led to widespread
         arrests and incarceration of indigent people within Lexington County Magistrate
         Courts.

         Defendants Matthew A. Johnson and Gary S. Morgan currently administer the LCMC as,

respectively, the Chief and Associate Chief Judge for Administrative Purposes of the Summary

Courts in Lexington County, South Carolina. Ex. 2; ECF No. 278. Defendant Rebecca Adams

served as Chief Judge from July 1, 2017, to July 1, 2021, and as the Associate Chief Judge from

January 1, 2014, to July 1, 2017. Exs. 3, 4, and 5 at 24:6–25:8. Defendant Adams currently

serves as the Judge of the Irmo Magistrate Court, a position she has held throughout her tenure

with the LCMC. Ex. 5 at 24:6–25:8; Ex. 6 at 270:25–271:5. Defendant Gary Reinhart served as

Chief Judge from January 1, 2005, to July 1, 2017. Ex. 7 at 24:23–25:14; Exs. 8, 9. Defendant

Reinhart currently serves as an at-large magistrate, a position he has held throughout his tenure

with the LCMC. Ex. 7 at 19:19–20:11, 24:16–22.

         The Chief and Associate Chief Judges of the LCMC have administrative duties that

include establishing “a procedure with all summary court judges and appropriate public officials



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to ensure that court-generated revenues are collected, distributed, and reported in an appropriate

and timely manner.” Ex. 3 ¶ 17. It is undisputed that for decades, the standard operating

procedure in the LCMC for addressing nonpayment of court debt was to automatically issue

bench warrants—and arrest and incarcerate people—without conducting pre-deprivation ability-

to-pay hearings and without waiver of the right to counsel. Ex. 5 at 159:12–23, 170:9–17,

215:16–20; Ex. 10 at 130:24–132:3. This procedure stemmed from two unwritten, county-wide

policies: the “Default Payment Policy” and “Trial in Absentia Policy.” See Ex. 5 at 159:12–23,

170:9–17, 215:16–20; Ex. 10 at 130:24–132:3. Both involved the use of nonpayment bench

warrants, and both resulted in thousands of people in Lexington County being unconstitutionally

jailed. Ex. 5 at 159:12–23, 170:9–17, 215:16–20; Ex. 10 at 130:24–132:3; Ex. 11.

       Under the Default Payment Policy, indigent people who pleaded guilty or were otherwise

convicted in the LCMC—but could not pay the full amount of fines and fees imposed at

sentencing—were placed on payment plans without consideration of their ability to pay, income,

or financial situation. See supra Statement of Facts (SOF) Part I; Ex. 5 at 239:1–19; Ex. 7 at

143:2–145:11. When indigent people could not afford to keep up with their payment plans, they

were arrested and incarcerated without a pre-deprivation ability-to-pay hearing to determine

whether the nonpayment was willful. See supra SOF Part I; Ex. 5 at 239:1–19; Ex. 7 at 143:2–

145:11. Moreover, they were not given an opportunity to speak with a public defender. See supra

SOF Part I.

       Under the Trial in Absentia Policy, indigent people who failed to appear in the LCMC for

a traffic or other misdemeanor charge—regardless of the reason for nonappearance—were

automatically tried in absentia, convicted, and sentenced to jail time suspended on payment of

fines and fees. See supra SOF Part I; Ex. 5 at 186:25–188:9. Typically, within a week of the

sentence being imposed, a nonpayment bench warrant was automatically issued, requiring arrest

and jailing without a hearing to determine whether nonpayment was willful. See supra SOF Part

I. The Central Traffic Court, for example, issued a nonpayment bench warrant ordering the arrest

and jailing of Plaintiff Goodwin the day after his trial in absentia. ECF No. 21-17; ECF No. 66-5


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¶¶ 3–11. Plaintiff Johnson’s nonpayment bench warrant was issued four days after her trial in

absentia. ECF No. 21-13; ECF No. 29-2 ¶ 3c. Plaintiff Palacio’s nonpayment bench warrant was

issued five days after her trial in absentia. ECF No. 21-15; ECF No. 29-2 ¶ 3b. When a person

was arrested on one of these warrants, they were not taken before a judge or provided an

opportunity to speak with a public defender. See supra SOF Part I.

          A.      Defendants were on notice that these policies and procedures are contrary to
                  longstanding Supreme Court precedent and South Carolina law.

          South Carolina magistrate judges take the same judicial oath of office as every other

member of the South Carolina Unified Judicial System. Within that oath is the promise to

“preserve, protect and defend the Constitution . . . of the United States.” S.C. App. Ct. R. 502.1.

The South Carolina Summary Court Judges Bench Book (Bench Book), which is promulgated by

the South Carolina Office of Court Administration (SCCA) and used to train magistrate judges,

states:

               The Constitution of the United States and South Carolina are the
               fundamental law of our judicial system. All other laws, regardless of their
               source, must not conflict with the U.S. Constitution; and all state laws,
               regulations, and ordinances must not conflict with the S.C. Constitution. All
               magistrates and municipal judges must strictly heed the provisions of the
               Constitutions.2

All South Carolina magistrate judges are required to attend a two-week training and pass an
exam, based on the contents of the Bench Book, before they can hear cases. See Ex. 6 at 313:15–

315:2 (“[W]e rely on [the bench book] to do just about anything . . . . And in our initial training

we go through that entire bench book and then have to take exams on it.”); Ex. 7 at 129:20–

131:22. The Bench Book contains information and directives on, among other things, state and

federal statutes and case law, court rules, and judicial orders handed down by the SCCA. Ex. 12.




2
  S.C. Judicial Dep’t, Summary Court Judges Benchbook, “General,” ch. C § 1, “The Constitution,”
https://www.sccourts.org/summaryCourtBenchBook/displaychapter.cfm?chapter=GeneralC#C1
(last visited April 10, 2022).


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       On March 14, 2016, the United States Department of Justice issued a “Dear Colleague”

letter emphasizing “basic constitutional principles relevant to the enforcement of fines and fees.”

Ex. 13 (emphasizing that due process and equal protection principles require that “[c]ourts must

not incarcerate a person for nonpayment of fines and fees without first conducting an indigency

determination and establishing that failure to pay was willful”). The SCCA sent this letter to all

South Carolina magistrate judges in March 2016. Id. at 16711. Defendant Reinhart read the letter

at the time it was sent. Ex. 7 at 162:19–25. Based on his knowledge of practices in the LCMC, he

saw similarities between the way the LCMC collected fines and fees and the descriptions of

unconstitutional behavior outlined in the letter. Id. at 167:22–168:12. Despite making these

connections, Defendant Reinhart did nothing as Chief Judge to change administrative policies or

practices in the LCMC to deviate from these unconstitutional practices. Id. at 165:2–14. Indeed,

he did not even discuss the letter with anyone else in the LCMC or the SCCA, nor did he conduct

any research on any of the U.S. Supreme Court cases cited in the letter. Id. at 165:16–167:12.

       No South Carolina law authorizes the use of bench warrants to automatically arrest and

jail people for nonpayment of court fines and fees without first determining whether nonpayment

was willful. See S.C. Code Ann. §§ 22-5-11 to 38-53-70. In fact, the South Carolina Attorney

General’s Office construes state law as prohibiting the use of bench warrants as commitment

papers. Ex. 14 (advising Defendant Koon’s predecessor that a bench warrant “should not be

considered as authority to incarcerate an individual for the purpose of serving any sentence of

imprisonment imposed by a magistrate”). The Bench Book takes a similar stance, advising: “A

Bench warrant, regardless of its form . . . may not be used to initiate a criminal action. It is a

form of process to be used to bring a defendant back before a particular court on a particular

charge for a specific purpose.” Ex. 12 (Chapter C, “Warrants”) (emphasis added). Nowhere does

the Bench Book instruct judges that they can issue a bench warrant to arrest a person for failure

to pay fines and fees and then incarcerate them without a hearing unless they pay the full amount

listed on the face of the bench warrant. See generally id.




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       B.      The cumulative impact of these policies and procedures resulted in the
               widespread jailing of indigent people without pre-deprivation hearings to
               determine willfulness and without the assistance of counsel.

       Under both the Default Payment and Trial in Absentia Policies, the automatic issuance of

nonpayment bench warrants led to the jailing of thousands of indigent people without a pre-

deprivation hearing to determine whether the failure to pay was willful and without the

assistance of counsel. See supra SOF Part I. Court records demonstrate the impact of these

practices. ECF No. 21-8 ¶¶ 4–12. For each nonpayment bench warrant that issued, a notation of

“Failure to Comply” or “Archived Bench Warrant” was entered into the case records. Id. Online

records from the two months between February 1 and March 31, 2017, show that the LCMC

recorded such notations in 204 cases corresponding to 183 separate individuals. Id. ¶ 17; ECF

No. 21-19. Similarly, online Detention Center records show that in just four weeks from May 1

to May 28, 2017, Lexington County incarcerated at least fifty-seven people on nonpayment

bench warrants issued by the LCMC. ECF No. 21-5 ¶¶ 4–11. And between September 15 to

October 19, 2017, Lexington County incarcerated at least another fifty-seven people on

nonpayment bench warrants. ECF No. 43-1 ¶¶ 9–13.

       The prevalence of these practices is further evidenced by a memorandum that South

Carolina Supreme Court Chief Justice Donald W. Beatty issued on September 15, 2017, titled

“Sentencing Unrepresented Defendants to Imprisonment” (Memorandum). ECF No. 40-1. The

Chief Justice started by stating that “[i]t has continually come to my attention that defendants,

who are neither represented by counsel nor have waived counsel, are being sentenced to

imprisonment.” Id. The Memorandum reiterated to all South Carolina magistrates and municipal

judges that this is “a clear violation of the Sixth Amendment right to counsel and numerous

opinions of the Supreme Court of the United States.” Id. at 2 (citing Argersinger v. Hamlin, 407

U.S. 25 (1972); Scott v. Illinois, 440 U.S. 367 (1979); Alabama v. Shelton, 535 U.S. 654 (2002);

Faretta v. California, 422 U.S. 806 (1975)).

       LCMC magistrate judges reacted by commenting on the “mess” they believed the

Memorandum caused, despite the longstanding nature of the cases and principles cited within it.


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See, e.g., Ex. 15. In fact, Defendant Adams testified that the practice of automatically issuing

nonpayment bench warrants was so common and widespread that during the annual mandatory

program for summary court judges held in November 2017 (2017 Mandatory Meeting), a room

full of magistrate judges “erupted” in surprise upon learning that these practices were

unconstitutional, and Justice Beatty “had to calm everybody down and tell [them] to pay

attention.” Ex. 5 at 158:19–159:2; see also Ex. 6 at 331:19–332:3 (“Q. Do you remember

anything that was particularly confusing to the judges . . . [?] A. It kind of all was. I mean, those

were some major changes and a lot of us have been judges for . . . 15 years or more.”). Staff

members within the LCMC also reacted with confusion. Ex. 16.

       Shortly after Justice Beatty made this announcement and while the 2017 Mandatory

Meeting was ongoing, Defendant Adams directed Ed Lewis, Chief Court Administrator of the

LCMC, to coordinate with the County Sheriff’s Department to “have all Lexington County

Magistrate Court Bench Warrants temporarily recalled.” Ex. 17; see also Ex. 5 at 209:16–24; Ex.

6 at 326:16–24; Ex. 10 at 198:2–13. This bench warrant recall was not a state-wide directive—

the LCMC did this, at the direction of Defendant Adams. Ex. 5 at 209:16–24. Indeed, in an email

in which Captain Mark W. Joyner of the Sheriff’s Department asks whether the changes to bench

warrants “affect [magistrate bench warrants] state wide or just [in Lexington County],” Lewis

responds, “I cannot speak on behalf of other counties.” Ex. 18; see also Ex. 19.

       Nearly 6,000 bench warrants, spanning almost four decades, were recalled by the LCMC,

illustrating the pervasiveness of Defendants’ illegal practices. Ex. 11; Ex. 5 at 215:15–23; Ex. 7

at 182:15–183:8 (“When we recalled bench warrants, I saw bench warrants that went back to

when I was in high school . . . I graduated in ’84 from high school.”). Of these, 1,118 bench

warrants were from Irmo Magistrate Court, where Defendant Adams is the only magistrate, a

figure significantly higher than the number recalled in relation to other courts within the LCMC.

Ex. 11 (Lexington: 463; Batesburg: 104; Swansea: 537; Oak Grove: 199; Cayce: 408).

Defendant Adams testified that as a whole, “very few” bench warrants were reissued after an

evaluation of their constitutionality. Ex. 5 at 213:20–214:10.


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III.   Defendants are collectively responsible for widespread violations of the Sixth and
       Fourteenth Amendments in Lexington County Magistrate Courts.
       A.       The Chief and Associate Chief Judge for Administrative Purposes are responsible
                for exercising administrative, policymaking, and supervisory authority over
                Lexington County Magistrate Courts.

       Under Article V, Section 4 of the South Carolina Constitution, the Chief Justice of South

Carolina is responsible for appointing the Chief and Associate Chief Judges for Administrative

Purposes of the Summary Courts in each county.3 The Chief Justice makes these appointments

through orders that grant the Chief and Associate Chief Judges explicit administrative authority

to make policies and provide supervision over magistrate courts, and the Judges are expected to

carry out those responsibilities. See, e.g., Exs. 2, 3. This includes administrative authority to:

               “Monitor all summary court judges within the county to ensure . . . the
                constitutional and statutory rights of defendants and victims are being
                upheld”;

               “Establish within the county a procedure . . . to ensure that court-generated
                revenues are collected, distributed, and reported in an appropriate and
                timely manner”;

               Convene judges on a “quarterly basis . . . to formulate uniform procedures
                in the county summary court system”;

               Report to the SCCA “any significant or repetitive non-compliance” by
                magistrate judges concerning the provisions of the order;

               “Coordinate the planning of budgets for the magistrates in the county”;

               “Provide for the orderly assignments of any case within the
                jurisdiction . . . to any magistrate of the county”; and

               “Designate the hours of operation of each magistrate’s court office.”

Ex. 3 ¶¶ 5, 7–8, 11–12, 17, 19; see also Ex. 2.




3
 S.C. Const. art. V, § 4 (“The Chief Justice of the Supreme Court . . . shall appoint an
administrator of the courts and such assistants as he deems necessary to aid in the administration
of the courts of the State.”).


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        In her transition to Chief Judge in 2017, Defendant Adams “read the order so [that she]

knew those responsibilities.” Ex. 6 at 291:24–292:4. And in the transition meeting between her

and Defendant Johnson, who was taking over as Chief Judge, Defendant Adams advised him to

“read the [order appointing Chief Judges]” and to keep attendance of judges who do not come to

the quarterly meetings “because it clearly states in the order that it’s mandatory that all the

judges participate in that quarterly meeting.” Ex. 6 at 271:10–276:23.

        Defendant Adams also noted the extensive responsibilities the Chief Judge role entailed.

In testifying that she was thankful to step down from her position as Chief Judge, she stated that

the position “takes a lot of time” and that Chief Judges “get pulled into other things,” including

“deal[ing] with the budget for all the magistrates,” “attend[ing] county council meetings,” and

dealing with “reports . . . if something’s not going right at the detention center . . . [as] the

contact point for other department heads in the county.” Ex. 6 at 278:17–279:5. A part of her

responsibility as Chief Judge included supervising “the staff for all of the central courts and

do[ing] their evaluations.” Id.; see id. at 291:9–14 (“[t]here was a lot to do . . . meetings to go to

and other staff to supervise”). Defendant Reinhart likewise testified that as Chief Judge, he “set

the central court schedules, created the weekend bond court schedule, supervised . . . Ed

Lewis . . . [and was] ultimately . . . responsible for the central courts and central court staff,

serv[ing] as a liaison for the magistrate’s court to the county.” Ex. 7 at 94:10–23.

                1.      As administrators, policymakers, and supervisors, the Chief and Associate
                        Chief Judges are required to monitor other magistrate judges to ensure
                        indigent defendants’ constitutional rights are upheld.

        The Chief and Associate Chief Judges of Lexington County are obligated to monitor all

magistrate judges to ensure that the constitutional and statutory rights of indigent defendants are

upheld. Ex. 3 ¶ 5. But they have failed to do this for decades. See, e.g., Ex. 5 at 56:14–23, 170:9–

17, 215:15–17; Ex. 7 at 143:2–145:11; Ex. 10 at 80:5–12, 130:24–132:3, 131:7–15; Ex. 11.

Indeed, Lewis testified that to his knowledge, the LCMC does not “have any policies in place to




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ensure that magistrate judges are complying with the [United States] [C]onstitution.” Ex. 10 at

133:21–134:2.

       The Chief and Associate Chief Judges are also obligated to report to the SCCA “any

significant or repetitive non-compliance” by magistrate judges concerning the provisions of the

order. Ex. 3 ¶ 19. Defendant Adams testified that if an instance of noncompliance involved

something “as serious as violating somebody’s constitutional rights or not holding a Bearden

hearing when they needed to, then . . . [she] would go directly to the [SCCA].” Ex. 6 at 344:6–

10. But Defendants Reinhart and Adams both admit that during their respective tenures as Chief

Judges, they did not understand Bearden or any of the U.S. Supreme Court’s most seminal

holdings interpreting the Sixth Amendment’s guarantee of right to counsel for defendants

appearing in the LCMC. Ex. 7 at 126:19–129:2; Ex. 5 at 191:25–192:24; Ex. 6 at 340:13–341:7

(“Q. And did you do anything to monitor compliance with Bearden in your courts? A. Well, in

my own individual court, I just don’t think I was taught that and understood that. After Chief

Beatty’s instructions then that changed because we knew.”). When asked whether a person

arrested for nonpayment of fines and fees was provided access to a public defender after their

arrest, Defendant Reinhart merely responded, “[t]hey weren’t prevented access.” Ex. 7 at

148:11–17 (emphasis added).

                2.    As administrators, policymakers, and supervisors, the Chief and Associate
                      Chief Judges are responsible for establishing and overseeing uniform
                      procedures for revenue collection.

       The Chief and Associate Chief Judges are assigned responsibility for establishing and

overseeing procedures “to ensure that court generated revenues are collected, distributed, and

reported in an appropriate and timely manner.” Ex. 3 ¶ 17. As noted above, the Chief and

Associate Chief Judges in the LCMC have utilized nonpayment bench warrants to enforce the

payment of fines and fees for decades. See supra SOF Part II.

       In July 2017, shortly after this lawsuit was filed, Defendant Adams and Ed Lewis began

discussing the option of implementing the “Setoff Debt Program” (SDP) in the LCMC. Ex. 20.



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The SDP is a program that many South Carolina counties use to collect outstanding fines and

fees by garnishing refunds issued on state and federal tax filings. Ex. 10 at 24:6–15, 48:8–15; see

also, e.g., Ex. 5 at 107:19–108:1; Ex. 20; Ex. 21 at 261:7–21; Ex. 22. There was nothing

preventing the Chief and Associate Chief Judges from implementing this program before 2017.

See, e.g., Ex. 6 at 306:10–13; Ex. 23 (“We . . . talked about [the SDP] for years but never took

any action.”); Ex. 24. Indeed, Defendant Adams testified that she was aware the LCMC could

participate in the SDP at least as early as April 2015, but she was unable to state why the LCMC

chose not to implement the SDP between April 2015 and July 2017. See Ex. 6 at 302:9–303:14;

Ex. 24.

          As Chief Judge, Defendant Adams directed Lewis and other court staff to look into the

program. Ex. 6 at 294:7–295:3, 352:8–10 (“Q. Did you ask Ed Lewis and Carlie Woods to head

that up? A. Yes.”); see also Ex. 25 (Defendant Adams asking magistrate judge to investigate

implementation of SDP). Defendant Adams organized staff and allocated work in relation to the

SDP so that the LCMC could handle its operations. Ex. 6 at 352:23–353:7. She also appointed

the hearing officer for the SDP, who bears responsibility for handling protests from debtors

participating in the program. Id. at 354:4–20; Ex. 23.

                 3.     As administrators, policymakers, and supervisors, the Chief and Associate
                        Chief Judges formulate uniform policies and procedures in Lexington
                        County magistrate courts.

          The Chief and Associate Chief Judges have the authority to convene all magistrate judges

within the county “on a quarterly basis . . . to formulate uniform procedures in the county

summary court system.” Ex. 3 ¶ 7. Indeed, in addition to the Setoff Debt Program, Default

Payment Policy, and Trial in Absentia Policy, the Chief and Associate Chief Judges in Lexington

County promulgated and implemented numerous other policies and procedures to oversee

administrative operations in the LCMC. See, e.g., Ex. 6 at 366:18–368:5; Ex. 7 at 81:25–87:25

(Defendant Reinhart directing Lewis to draft payment policy); Ex. 26 (coordinating with

Sheriff’s Department on procedures for discharges to Bond Court); Ex. 27 (coordinating



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development and implementation uniform civil procedures); Ex. 28 (inclement weather policy);

Ex. 29 (courtroom media policy); Ex. 30 (court payment policy); Ex. 31 (emergency restraining

order procedure for holidays and weekends).

       The Chief and Associate Chief Judges have long held the supervisory authority to

establish county-wide administrative procedures for the lawful and efficient operation of the

LCMC. In 2019, for example, Defendant Adams exercised her authority as Chief Judge to create

a procedure to screen defendants in Bond Court for public defender eligibility. Ex. 6 at 366:18–

368:5; Ex. 32 at 14; Ex. 33; Ex. 34 at 120:1–17, 154:6–19 (“[S]he called me up and told me we

are going to do this . . . . I told her we were on board. And so she set a date, and we went

through.”). A procedure to bring a defendant either back to the traffic court or to the Bond Court

within 24 hours of being served with a bench warrant was not in place in 2017—but it could

have been. Ex. 21 at 242:8–246:22 (“Q. Is there any reason that you can think of that this

procedure could not have been implemented in January of 2017? A. No.”); Ex. 35 at 3823.03.

       B.      Lexington County is responsible for adequately funding the public defender
               system that serves Lexington County Magistrate Courts.

       The public defender system in South Carolina is a “county-based system,” whereby

counties are grouped within the state’s sixteen judicial circuits.4 The South Carolina Indigent

Defense Act of 2007 requires each county to appropriate annual funding for indigent defense at
no less than the amount it provided the immediate previous fiscal year. See S.C. Code Ann. § 17-

3-550. Robert Madsen is the Public Defender for the Eleventh Judicial Circuit of South Carolina,

which includes the Lexington County Public Defender’s Office (LCPDO). Ex. 34 at 8:22–9:6.

Under the Indigent Defense Act, circuit public defenders must “enter into an agreement with the

appropriate county within the judicial circuit to administer the funds provided” for indigent

defense in that county. S.C. Code Ann. § 17-3-560. The Act also provides that “the circuit public



4
 S.C. Comm’n on Indigent Def. (SCCID), SCCID Public Defenders, https://sccid.sc.gov/about-
us/circuit-public-defenders (last visited March 30, 2022).


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defender in each judicial circuit may maintain offices and employ . . . staff as necessary to

provide adequate and meaningful representation of indigent clients within the counties.” S.C.

Code Ann. § 17-3-540(A). “These employees are employees of the administering county. . . . All

personnel costs . . . must be paid by the administering county, but must be reimbursed to the

administering county from operational funds provided to the circuit public defender office from

county and state appropriated funds.” S.C. Code Ann. § 17-3-540(B).

       On June 24, 2009, Madsen entered into an “Intergovernmental Agreement” with the

County, which explicitly states:

              “The Public Defender shall comply with all Lexington County budget and
               financial policies, procedures, and ordinances”;

            “The Public Defender agrees to follow the policies and procedures
               adopted by the County for the purpose of processing applications for
               employment and extending offers of employment”;

            “The County shall fund the Public Defender Department in it[s] annual
               budget process as it does with County departments”;

            “If there are insufficient funds in the P.D. Fund in the County’s sole
               discretion, the County may terminate employee positions and make any
               other cuts that are necessary”;

            “All State funds shall be deposited into the County bank account or
               accounts created for the Public Defender. The Public Defender shall
               account for all state funds that it receives and shall direct that all state
               funds be deposited into the County P.D. Fund”; and

            “All funds from other counties within the Eleventh Judicial Circuit shall be
               deposited with Lexington County. The Public Defender shall be
               responsible for obtaining written agreements with such counties that are
               satisfactory to the County.”


Ex. 36 ¶¶ 4, 6, 8–11 (emphasis added). This operative agreement is the only one that has been in

place between Lexington County and the Eleventh Circuit Public Defender since 2009. Ex. 34 at

29:19–30:1.




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               1.      Lexington County Council is the final policymaker when it comes to the
                       funding of public defense in Lexington County.

       The LCPDO serves the magistrate, general sessions, and family courts within Lexington

County. Ex. 34 at 14:10–15. Funding for the LCPDO comes from two sources: the state and

Lexington County. Id. at 34:8–22; Ex. 36. State funding is largely determined by the County’s

population according to the 2010 census, but funding from the County is based solely on

budgeting decisions made by the Lexington County Council. Ex. 34 at 47:12–50:3, 169:24–

171:5. Lexington County has never audited the LCPDO to determine whether it was

“appropriately staffed for the public defense needs of all Lexington County court systems.” Id. at
39:9–24; see also Ex. 58 at 75:8–76:10. Discussions about appropriate staffing for the County’s

public defense needs have only come up through the County’s budget process, which requires

Madsen to apply to the County Council for funding each year. Ex. 34 at 39:9–24 (“Q. So no

one’s come to you affirmatively to just have that discussion; it only comes up when you’re

making budget requests for additional staffing? A. Correct.”); see also id. at 47:12–50:3.

       Despite his role as the Eleventh Judicial Circuit Public Defender, Madsen lacks discretion

to hire new staff as necessary “to provide adequate and meaningful representation of indigent

clients within the counties.” See S.C. Code Ann. § 17-3-540(A); Ex. 34 at 8:22–9:6, 51:22–

52:15. Randolph Poston, the Finance Director of Lexington County, testified that the County

Council is the final decisionmaker when it came to amounts appropriated for the County’s

various departments. Ex. 58 at 41:16–43:18. Any funding the County allocates for public defense

is generally tied to a specific employment position and if the request by Madsen is not approved,

“that position is not created” at all. Ex. 34 at 51:22–52:15; see also Ex. 58 at 145:14–22. This

leads to staffing shortages, Madsen says, and “it takes longer to get cases resolved[,] which

results in people sitting in jail longer.” Ex. 34 at 78:19–23.




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               2.      Lexington County has failed, and continues to fail, to provide adequate
                       funding for indigent defense despite Madsen’s repeated requests for
                       additional funding.

       Lexington County has historically funded, and continues to fund, indigent defense at a

fraction of the funding that other South Carolina counties with similar populations provide—and

at a fraction of what it spends to fund its Solicitor’s Office. Ex. 37 at 4, 7. As noted below,

Madsen has repeatedly made funding increase requests to the County Council for nearly all of

the past twelve years, but the Council has denied or substantially reduced amounts allocated for

nearly all of these requests. See Ex. 34 at 55:3–56:16.

       In 2010, for example, Madsen asked the County to increase its funding for the LCPDO

from $286,500 to $500,000. Ex. 38 at 16 (Madsen’s 2010 letter to County); Ex. 39 at 19 (Office

of Indigent Defense Chart showing total County funding for 2009 to 2010). In doing so, he

pointed out his office handles 70% of all General Sessions cases and almost all juvenile criminal

cases in Lexington County but receives only 11.3% of the funding the County provides for the

Solicitor’s Office. Ex. 38 at 16. He also informed the County it had only increased funding for

the LCPDO by 0.018% over the previous seven years, despite a 100% increase in the number of

clients his office had seen during that same period. Id.

       That same year, Madsen provided the Council with a chart compiled by the state Office

of Indigent Defense (OID), showing county contributions for their public defenders’ offices

across the state. Ex. 39. Madsen noted that even if Lexington County approved the “substantial”

increase he requested, it would still be much smaller than the funding provided by other counties.

Ex. 38 at 16. Madsen informed the Council that the caseloads of the attorneys in the Public

Defender’s Office already “greatly exceed[ed]” the maximum set by the American Bar

Association. Id. Despite Madsen’s presentation, the County denied his request for additional

funding. See Ex. 40 at 42 (Madsen’s 2011 letter stating the County’s funding increase over

previous eight years was still only 0.018%, indicating no increase was provided in 2010).

Because of the County’s failure to adequately fund indigent defense in 2010, Madsen had to lay

off some of his attorneys, necessarily leaving the remaining attorneys with even greater


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caseloads. Ex. 34 at 85:17–86:4. Despite the economic recession at that time affecting the

County and its agencies more broadly, the LCPDO was the only County agency that year to lay

off attorneys to cover its funding shortfall. See id.

        In 2011, Madsen requested an increase in funding to $627,597, again citing the County’s

disparate funding in comparison to other counties and the Solicitor’s Office. Ex. 40 at 42.

Madsen noted that Lexington County ranked 37th out of 46 counties in per capita funding of

public defenders’ offices. Id.; see also Ex. 41. He emphasized that due to the historical lack of

funding which left him with minimal staff, another year without increased funding would force

him to let go of attorneys and lead to a “catastrophic” effect on the County’s jail population. Ex.

40 at 43. The County only granted $386,500 in public defense funding, nearly $242,000 less than

Madsen’s request. Ex. 42 at 77. As he predicted in the budget request, Madsen was forced to lay

off two additional employees. Ex. 43 at 63 (2012 letter indicating Madsen “had to layoff [sic]

two employees . . . severely hinder[ing] [their] ability to provide appropriate representation for

[their] clients”); Ex. 40 at 43.

        In 2012, Madsen requested an increase in funding to $620,410. Ex. 43 at 63. Madsen

informed the Council that despite the funding increase from the prior year, the LCPDO’s budget

was still just 15% of the funding the Solicitor’s Office received. Id. Madsen again provided the

Council with a chart showing that, even with the previous year’s increase, Lexington County

ranked 36th out of 46 counties in per capita funding of their indigent defense systems. Id.; Ex. 44

at 72. Madsen also provided the County with a report from OID showing Lexington County had

the highest average caseload per attorney out of the sixteen judicial circuits in the state—more

than double the ABA standard. Exs. 45, 46. Despite the evidence Madsen provided to the

Council to demonstrate it was underfunding indigent defense, the Council denied his request

entirely. Ex. 47 at 2 (indicating budget of $368,500, the same as in the previous year).

        In 2013, Madsen requested a funding increase to $514,806. Id. at 1. As part of this

increase, Madsen asked the County to fund two new attorney positions, one to practice in the

Magistrate Courts and the other to practice in Family Court representing juveniles, because


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“neither area has received the Constitutionally mandated representation or attention they

deserve.” Id.; see also Ex. 34 at 62:8–64:15. The Council approved nearly all the funds Madsen

requested, allocating $514,306. Ex. 34. at 62:8–64:15. This marked the first time in Lexington

County’s history that a public defender was available to Magistrate Court defendants. Id.

       In 2014, Madsen requested a substantially smaller budget increase of $26,990 to cover

County-mandated pay raises. Ex. 48 at 2. The County denied Madsen’s request. Id.; see also Ex.

34 at 70:12–72:22. In 2015, Madsen requested the same increase of $26,990 which was again

denied. Ex 34. at 72:25–73:3; Ex. 48 at 1.

       In 2016, Madsen asked for an increase of $29,626 to cover County-mandated pay raises

and $188,905 to fund three new attorney positions. Ex. 49 at 1–2; see also Ex. 34 at 79:4–21.

Madsen informed the Council that he needed these new positions because the LCPDO had seen

General Sessions caseloads increase by more than 600 new clients per year, which equaled the

caseload of four attorneys under the ABA standard of 150 felony cases per attorney annually. Ex.

49 at 1. Madsen went on to say these increases had caused problems with the current

infrastructure, causing significant increases in the jail population and the length of time to

resolve cases. Id. The County approved the small funding increase for County-mandated pay

raises but denied Madsen’s request for three new attorney positions entirely. Ex. 34 at 79:4–21.

       In 2017, Madsen did not request a funding increase, and the County allocated the same

amount as in 2016. Ex. 50; Ex. 51 at 259.

       In February 2018, during the first budget request cycle after Plaintiffs filed this lawsuit,

Madsen asked for $1,129,538—more than double the budget approved in 2017. Ex. 52 at 1.

When asked why this request was so much higher than previous years, Madsen testified it was

partly a reaction to being sued for not asking for enough money from the County.5 Ex. 34 at



5
 Madsen was originally named as a defendant in this lawsuit, ECF No. 1, but the claims against
him were voluntarily dismissed by stipulation in 2018 pursuant to Rule 41(a)(1)(A)(ii) of the
Federal Rules of Civil Procedure. ECF No. 100.


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89:15–90:2. But when asked whether he thought his request was an appropriate amount for what

the LCPDO needed to provide services to indigent people in Lexington County courts, Madsen

answered:

            Well, I would say . . . that number was even low, but I thought that [it] was
            potentially relatively realistic and palatable. Like I said, if I go in and ask
            for $5 million, I know that I am just going to get laughed out of there, and
            it’s––they just would not consider that realistic, even if that’s what we
            needed to do our job. And so, like I said, I’m trying to kind of toe that line
            a little bit to what I think is potentially palatable and to kind of move the
            funding in our office forward.

Ex. 34 at 91:1–11 (emphasis added).

       Madsen again told the Council that Lexington County had historically underfunded the

LCPDO and that it was currently receiving only 19% of the funding the Solicitor’s Office

received. Ex. 52 at 1. He reiterated, as with prior years, that the substantial increase was

necessary to bring the office in parity with similarly populated counties. Id. As part of the
funding request, Madsen asked the County to create three new attorney positions, one of which

would become the second attorney available to represent indigent defendants in the LCMC. Id.;

Ex. 59 at 299. Notwithstanding the pending litigation against Lexington County for its failure to

adequately fund the LCPDO, the County Council completely denied Madsen’s request for

increased funding. Ex. 34 at 95:18–96:11.

       In 2019, Madsen asked the County to increase indigent defense funding from $543,932 to
$1,024,531, with yet another reminder that Lexington County had historically underfunded the

LCPDO relative to similarly populated counties and the Solicitor’s Office. Ex. 53 at 1. As part of

the funding increase, Madsen again asked the County to create three new attorney positions,

including one to represent indigent defendants in LCMC and one to represent juveniles in Family

Court. Id. The County reduced by nearly half the request for an additional $480,599 over the

previous year and granted a total of $785,614. Ex. 34 at 124:4–18. As a result, Madsen was only

able to hire one attorney to be split between the Magistrate and Family Courts. Id. This was only

the second attorney to be appointed to represent defendants in the LCMC—albeit on a part-time



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basis—since the first attorney was appointed six years earlier. See id.; see also Decl. of Edward

C. Monahan in Supp. of Pls.’ Mot. For Summ. J. (Monahan Decl.), Ex. A at 20 (“A second

public defender [for the LCMC] began September 23, 2019.”).

       In 2020, Madsen asked for a funding increase to $920,390 and the addition of an

investigator for the LCPDO. Ex. 54 at 357. The County denied his request, and the investigator

position was not created. Ex. 34 at 125:1–16. In 2021, Madsen asked for another funding

increase to $1,229,198, which was also denied in full. Ex. 55 at 94.

       Despite Madsen’s request for an increase in funding for the LCPDO in eleven out of the

last twelve years and his repeated provision of evidence showing that Lexington County was

underfunding indigent defense, the County has either denied Madsen’s requests entirely or

substantially reduced the increase granted for indigent defense in ten out of those eleven years.

       As Plaintiffs’ expert Edward C. Monahan6 found, “Lexington County is substantially

underfunding the public defender office” compared both to similarly populated counties

statewide and to the funding the County provides to the Solicitor’s Office. Monahan Decl., Ex. A

at 2, 32. Monahan found that “[g]iven the comparisons to other South Carolina counties, the data

is clear that the [LCPDO] is underfunded . . . mean[ing] that the [LCPDO] is not receiving the

minimally adequate financial resources to provide meaningful representation to all eligible

clients in [the LCMC].” Id. at 32.

       Lexington County provides roughly half the amount of funding for public defender

services provided by the comparably populated South Carolina counties of York and Horry. Id.

at 33.7 For fiscal year 2017, Lexington County allocated only $543,932 for public defender



6
 Monahan served 38 years as a public defender and led Kentucky’s state-wide public defender
system from 2007 to 2017. He also currently serves as the chair-elect of the Government and
Public Sector Lawyers Division Counsel of the American Bar Association. Monahan Decl. at 1.
7
  According to 2020 U.S. Census estimates, Lexington County has a population of 293,991,
while York County has a slightly smaller population of 282,090 and Horry County has a slightly
larger population of 351,029. U.S. Census Bureau, Lexington County, S.C., QuickFacts,



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services. Id. at 32; Ex. 49 at 2. York and Horry Counties provided more than double that amount

for public defender services the same year, allocating $1,353,465 and $1,092,214 respectively.

ECF No. 66-6, Ex. B at 2. For fiscal year 2020, Madsen requested $1,129,538 in funding—but

only received $785,614—which is 24% of the funding the County provided to the Solicitor’s

Office that same year. Monahan Decl., Ex. A at 32. According to Madsen, public defense

funding in Lexington County is still “not . . . equal to other counties [of similar] size.” Ex. 34 at

53:8–16 (“[A]t the last census we [had] 260,000 residents. Aiken County [had] 160,000

residents . . . . They get $1.9 million from their county, and we’re [$785,000] and change.”).

           3.      Through inadequate funding, Lexington County has failed, and continues to
                   fail, to ensure indigent defendants in magistrate courts have adequate access
                   to counsel.

       Each year, thousands of indigent people face charges in the LCMC that carry the

possibility of a jail sentence. Monahan Decl., Ex. A at 18–19. Monahan found that there were

8,725 cases in the LCMC with charges for which incarceration was a possible sentence. Id. at

15–17. Monahan then applied percentages of cases involving indigent defendants in General

Sessions and other comparable courts to cases in the LCMC. Id. at 17–18. Based on these values,

Monahan concluded that between 6,107 and 6,980 of the cases pending in the LCMC in 2019

involved indigent defendants facing incarceration as a possible sentence. Id. But only 795 cases

involved a public defender––an appointment rate of 9%—which is substantially lower than the

70% appointment rate in Lexington County General Sessions Court. Id. From this, Monahan

estimated there were approximately 5,312 to 6,185 cases where indigent defendants were

prosecuted in the LCMC without the assistance of counsel on charges carrying incarceration as a

possible outcome. Id. Monahan also concluded that this 9% appointment rate “result[s] in 91% of

[LCMC] cases prosecuted with the defendant not being afforded a lawyer,” pointing to a “tragic

picture of the pattern and practice of systemic denials of constitutional rights in [the LCMC].”


https://www.census.gov/quickfacts/fact/table/horrycountysouthcarolina,yorkcountysouthcarolina,
lexingtoncountysouthcarolina/POP010220#POP010220 (last visited April 8, 2022).


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Monahan Decl., Ex. A at 37; see also Ex. 34 at 127:15–25 (“Q. Do you have any reason to

dispute the [9% appointment rate] that he put in his report . . . ? A. No.”).

       Due to the Council repeatedly denying Madsen’s requests for increasing the LCPDO’s

budget, there are currently only two public defenders assigned to represent all indigent

defendants in cases handled by the LCMC, though funding has recently been made available for

a third. Monahan Decl., Ex. A at 20–21; Ex. 21 at 337:23–338:3. Back in 2013, when the County

provided funding for its first public defender to represent indigent defendants in the LCMC, that

public defender’s caseload quickly exceeded the ABA standard of 400 misdemeanor cases

annually. Ex. 56 at 216. And in 2019, when the County provided funding for a second, part-time

public defender in the LCMC, both public defenders had average caseloads that exceeded the

ABA maximum within the first year. Ex. 57 at 7. Madsen testified that the two public defenders

are still over the ABA standard. Ex. 34 at 129:19–130:7; see also Monahan Decl., Ex. A at 19–

26. Indeed, in 2020, these two public defenders handled “over 1,300 cases” combined, which is

far more than the ABA allows for three full-time defenders handling misdemeanor cases and far

less than the total number of indigent defendants being prosecuted in the LCMC. Ex. 34 at

130:13–15; Monahan Decl., Ex. A at 25 (noting “between 5,312 to 6,185 persons were likely

indigent but were not appointed counsel in 2019 cases in [the LCMC]”). An increase in

dedicated staffing for the LCMC would mean public defenders could represent more individuals.

Ex. 34 at 129:14–18. But in the absence of more funding from the County, the LCPDO cannot do

anything more to “meet[] the rights of people accused in the [LCMC]” with respect to their Sixth

Amendment right to counsel. Id. at 153:1–9.

                                  STANDARD OF REVIEW

       Summary judgment is proper where “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Harley v. Wilkinson, 988 F.3d 766,

768 (4th Cir. 2021) (quoting Fed. R. Civ. P. 56(a)). The party seeking summary judgment bears

the initial burden of demonstrating there are no genuine issues of material fact. Celotex Corp. v.




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Catrett, 477 U.S. 317, 323 (1986). If this showing is made, the nonmoving party must

demonstrate specific, material facts that give rise to a genuine issue. Id. at 324. Evidence

presents a genuine issue of material fact when “a reasonable jury could return a verdict for the

non-moving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Any inference

drawn from the facts should be viewed in the light most favorable to the nonmoving party.

United States v. Diebold, Inc., 369 U.S. 654, 655 (1962).

                                          ARGUMENT
I.      Section 1983 standard.

        Each of Plaintiffs’ claims is brought under 42 U.S.C. § 1983. To obtain relief under

Section 1983, a plaintiff “must prove that the charged state actor (1) deprived plaintiff of a right

secured by the Constitution,” and “(2) that the deprivation was performed under color of . . . state

law.” Philips v. Pitt Cnty. Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009).

        To establish causation under Section 1983, a plaintiff must show an “affirmative causal

link” between acts or omissions of the culpable actor and the constitutional injury. Slakan v.

Porter, 737 F.2d 368, 376 (4th Cir. 1984). Causation can be established in a variety of ways,
including by evidence that the defendant violated the constitution through direct intervention,

Meyers v. Baltimore Cnty., Md., 713 F.3d 723, 735 (4th Cir. 2013) (defendant liable for

repeatedly tasing unarmed arrestee), by implementing or failing to remediate an unconstitutional

policy, Gordon v. Schilling, 937 F.3d 348, 360 (4th Cir. 2019) (defendant “fail[ed] to rescind . . .

Guidelines for eleven months after assuming the role of Chief Physician”), or by failing to

adequately train or supervise a subordinate officer, Shaw v. Stroud, 13 F.3d 791, 800 (4th Cir.

1994) (“[Plaintiff’s] death was a natural and foreseeable consequence of [Defendant’s] failure to

investigate, or even to address, the pervasive violent propensities of one of his officers.”).

        A local governmental entity can be held liable as a person under Section 1983 when its

“policy or custom” is the “moving force of the constitutional violation.” Monell v. Dep’t of Soc.

Servs., 436 U.S. 658, 694 (1978).




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II.      Plaintiffs and Class Members are entitled to summary judgment on their denial of
         counsel claim under the Sixth Amendment (Claim Two).

         The United States Constitution guarantees every criminal defendant the fundamental right

to effective assistance of counsel. U.S. Const. amend. VI; Gideon v. Wainwright, 372 U.S. 335

(1963) (extending the right to counsel to indigent defendants in state court). The right to counsel

extends to all criminal proceedings that involve incarceration, whether for felonies or

misdemeanors. Argersinger v. Hamlin, 407 U.S. 25, 36-37 (1972) (actual incarceration); Scott v.

Illinois, 440 U.S. 367, 373–74 (1979) (same); Alabama v. Shelton, 535 U.S. 654, 674 (2002)

(suspended incarceration). And it applies with equal force to defendants prosecuted in municipal
and magistrate courts. See Wilbur v. City of Mount. Vernon, 989 F. Supp. 2d 1122, 1134 (W.D.

Wash. 2013) (“Having chosen to operate a municipal court system . . . defendants are obligated

to comply with . . . the Sixth Amendment.”); Tucker v. State, 394 P.3d 54, 62–63 (Idaho 2017)

(“[I]t is the State’s obligation to provide constitutionally adequate public defense at critical

stages of the prosecution.”).

         A criminal defendant’s right to counsel attaches at their initial appearance, Rothgery v.

Gillespie Cnty., Tex., 554 U.S. 191, 212 (2008), and extends to all critical stages of the criminal

prosecution. United States v. Cronic, 466 U.S. 648, 654–56 (1984); see also Avery v. Alabama,

308 U.S. 444, 446 (1940). Critical stages include, inter alia, certain arraignments, Hamilton v.

Alabama, 368 U.S. 52, 53–54 (1961); White v. Maryland, 373 U.S. 59, 60 (1963); preliminary

hearings, Coleman v. Alabama, 399 U.S. 1, 9–10 (1970); plea negotiations, Lafler v. Cooper, 566

U.S. 156 (2012); Missouri v. Frye, 566 U.S. 134 (2012); White, 373 U.S. at 60; Padilla v.

Kentucky, 559 U.S. 356, 373 (2010); and when the incarceration portion of a suspended sentence

is enforced against a defendant. Argersinger, 407 U.S. at 37; Shelton, 535 U.S. at 673–74. If a

defendant is denied the actual assistance of counsel at any critical stage, there can be no

conclusion other than that representation was not provided. Cronic, 466 U.S. at 659. In short,

“[l]awyers in criminal cases ‘are necessities, not luxuries.’” Id. at 653 (quoting Gideon, 372 U.S.

at 344).



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       Undisputed facts demonstrate that Lexington County and the Chief and Associate Chief

Judges are liable under Section 1983 for violating the Sixth Amendment rights of Plaintiffs and

Class Members (Claim Two). See supra Statement of Facts (SOF) Part III. Plaintiffs and Class

Members were, and continue to be, systemically denied their constitutional right to counsel

because of Lexington County’s failure to adequately fund indigent defense within the Lexington

County Magistrate Courts (LCMC). See supra SOF Parts I–II. Additionally, Plaintiffs and Class

Members were, and could in the future again be, deprived of their right to counsel at critical

stages of their criminal proceedings because of the Chief and Associate Chief Judges’ failure to

appoint counsel prior to the imposition of jail for nonpayment of fines and fees. Id. This Court

should fashion comprehensive equitable relief to protect the Sixth Amendment rights of

Plaintiffs and Class Members.

       A.      Lexington County is liable under Section 1983 for its failure to provide adequate
               funding for public defense in Lexington County Magistrate Courts.

       Lexington County has engaged in policies, procedures, and customs that cause systemic

deficiencies in funding, staffing, and assignment of cases to public defenders with the result that

indigent people in the LCMC are deprived of court-appointed counsel. See supra SOF Part III.B.

See, e.g., Wilbur, 989 F. Supp. 2d at 1133 (“The Court finds that the combination of contracting,

funding, legislating, and monitoring decisions . . . caused the truncated case handling procedures
that have deprived indigent criminal defendants [of Sixth Amendment rights].”). Monell has long

established that a Section 1983 suit against a municipality covers all forms of relief. 436 U.S. at

690; see also Los Angeles Cnty. v. Humphries, 562 U.S. 29, 36 (2010). Thus, injunctive relief is

appropriate.

               1.      Lexington County controls the creation and funding of all positions in the
                       Lexington County Public Defender’s Office.

       A “policy or custom for which a municipality may be held liable can arise . . . through the

decisions of a person with final policymaking authority,” or “through a practice that is so

‘persistent and widespread’ as to constitute a ‘custom or usage with the force of law.’” Starbuck



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v. Williamsburg James City Cnty. Sch. Bd., 28 F.4th 529, 533 (4th Cir. 2022) (quoting Lytle v.

Doyle, 326 F.3d 463, 471 (4th Cir. 2003)). Monell liability applies with equal force even where

there is only “a single decision taken by the highest officials responsible for setting policy in that

area of the government’s business.” City of St. Louis v. Praprotnik, 485 U.S. 112, 123 (1988)

(plurality opinion); see also Pembaur v. City of Cincinnati, 475 U.S. 469, 480 (1986) (“No one

has ever doubted, for instance, that a municipality may be liable under § 1983 for a single

decision by its properly constituted legislative body . . . because even a single decision by such a

body unquestionably constitutes an act of official government policy.”); Hunter v. Town of

Mocksville, N.C., 897 F.3d 538, 554 (4th Cir. 2018) (finding “a single decision regarding a

course of action in response to particular circumstances” is sufficient to meet the official policy

requisite of municipal liability, “so long as that governmental unit possessed ‘final authority to

create official policy’”). “Relying on this precedent, [the Fourth Circuit] has held that a

government policy or custom need not have received formal approval through the municipality’s

official decisionmaking channels to subject the municipality to liability.” Hunter, 897 F.3d at

554 (quoting Riddick v. Sch. Bd., 238 F.3d 518, 522 (4th Cir. 2000)).

       In determining municipal liability under Section 1983, courts look to “whether

governmental officials are final policymakers for the local government in a particular area, or on

a particular issue.” McMillian v. Monroe Cnty., Ala., 520 U.S. 781, 785 (1997); see also

Pembaur, 475 U.S. at 480–81. The identification of which local “official has final policymaking

authority” is a legal question to be determined by state law. Starbuck, 28 F.4th at 533 (quoting

Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701, 737 (1989)). To answer this question, the Fourth

Circuit looks to “the relevant legal materials, including state and local positive law, as well as the

custom or usage having the force of law.” Hunter, 897 F.3d at 555 (quoting Riddick, 238 F.3d at

523). Relevant to this analysis is whether “an official’s discretionary decisions are constrained by

policies not of that official’s making.” Id. at 555 (quoting Praprotnik, 485 U.S. at 127). When a

decision is “subject to review by the municipality’s authorized policymakers, they have retained

the authority to measure the official’s conduct for conformance with their policies.” Id. at 555


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(quoting Praprotnik, 485 U.S. at 127) (“In other words, there is a marked difference between the

authority to make final policy and the authority to make final implementing decisions.”) (internal

citations, quotations, and alternations omitted); see also Valentino v. Vill. of South Chicago

Heights, 575 F.3d 664, 676 (7th Cir. 2009) (in determining who is the final decisionmaker,

courts look to “(1) whether the official is constrained by policies of other officials or legislative

bodies; (2) whether the official’s decision on the issue in question is subject to meaningful

review; and (3) whether the policy decision purportedly made by the official is within the realm

of the official’s grant of authority.”).

        Under both South Carolina law and the “custom or usage having the force of law,” the

final policymaker on funding decisions for indigent defense in Lexington County is the

Lexington County Council. Hunter, 897 F.3d at 555 (citations omitted); see also S.C. Code Ann.

§ 4-9-310 (“[T]he responsibility for policy making and administration of county government

shall be vested in the county council.”); S.C. Code Ann. § 4-9-140 (“County council shall adopt

annually and prior to the beginning of the fiscal year operating and capital budgets for the

operation of county government.”); S.C. Code Ann. § 4-9-25 (“All counties of the State . . . have

authority to enact regulations, resolutions, and ordinances, not inconsistent with the Constitution

and general law of this State . . . . The powers of a county must be liberally construed in favor of

the county . . . .”).

        Although the Lexington County Public Defender’s Office (LCPDO) is overseen by

Robert Madsen, the Public Defender for the Eleventh Judicial Circuit of South Carolina, funding

for the LCPDO comes from just two sources: the State of South Carolina Commission on

Indigent Defense and Lexington County. Ex. 34 at 8:22–9:6, 34:8–22; Ex. 36. The State

determines funding based primarily on the County’s population, following the same formula

used for all 46 counties. Ex. 34 at 169:24–171:5. Funding from Lexington County, on the other

hand, is based solely on budgeting decisions made by the Lexington County Council. Id. at

47:12–50:3. Despite his role as the Eleventh Judicial Circuit Defender, Madsen does not have

any discretion to create a new attorney position—even if he feels it is necessary. See S.C. Code


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Ann. § 17-3-540(A); Ex. 34 at 8:22–9:6, 51:22–52:15. Only the County Council and County

Administrator have that power. Ex. 34 at 8:22–9:6, 51:22–52:15; Ex. 58 at 41:16–43:18. If the

County Council turns down the Circuit Defender’s request to create a new position in the

LCPDO, no new position is created. Ex. 58 at 145:14–22; Ex. 34 at 51:22–52:15. Thus, the

Council is responsible for the very existence of attorneys who provide constitutionally required

public defense services within the LCPDO. Ex. 58 at 145:14–22; Ex. 34 at 51:22–52:15; see also

Ex. 40 at 42–43; Ex. 43 at 63; Ex. 34 at 79:4–21; 95:18–96:11, 125:1–16. This is demonstrated

by the fact that Madsen has repeatedly emphasized the historical and systematic underfunding of

the LCPDO in comparison to both similarly populated counties in South Carolina and the

Solicitor’s Office in his budget requests to the County Council. Ex. 37 at 4, 7; Ex. 38 at 16; Ex.

39; Ex. 40 at 42–43; Ex. 41; Ex. 44 at 72; Ex. 45; Ex. 46; Ex. 52 at 1; Ex. 53 at 1. Still, the

County has denied entirely or reduced substantially the funding increases Madsen has requested

in ten out of the eleven years he has requested an increase.

       In Hunter, the Fourth Circuit found that the Town Manager was a final municipal

policymaker for purposes of Section 1983, as authority over the town’s employment decisions

was delegated without constraint and “hold[ing] otherwise would insulate the Town from

liability in virtually every case—a result contrary to the principles underlying Section 1983.” 897

F.3d at 558. Municipal liability is even clearer here because the County Council never even

delegated that authority to Madsen. To the contrary, because public defense funding allocated by

the County is generally tied to a specific employment position, the County Council is the sole

final decisionmaker when it comes to the creation of new attorney positions for the LCPDO. Ex.

40 at 42–43; Ex. 43 at 63; Ex. 34 at 79:4–21, 95:18–96:11, 125:1–16. To hold otherwise would

mean that Lexington County had no policymakers with respect to the funding of indigent defense

in the LCMC, and “such a conclusion would sanction and encourage egregious attempts by local

governments to insulate themselves from liability for unconstitutional policies . . . . This cannot

be so.” Hunter, 897 F.3d at 558 (internal citations and quotation marks omitted).




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               2.      Lexington County has failed, and continues to fail, to provide adequate
                       funding for indigent defense.

       As final policymakers, the Lexington County Council has chosen to systematically

underfund public defense needs for indigent defendants in the LCMC for nearly a decade. This

reflects “a deliberate choice . . . to follow a course of action” amongst “various alternatives.”

Pembaur, 475 U.S. at 483; see also Ex. 40 at 42 (Madsen’s 2011 letter to Council noting County

had increased LCPDO funding by only 0.018% over previous eight years and indicating no

increase was provided in 2010); Ex. 34 at 85:17–86:4 (Madsen testifying that he had to lay off

attorneys in 2010 due to funding shortfall); Ex. 42 at 77 (granting $386,500 in public defense
funding for fiscal year 2012, nearly $242,000 less than Madsen’s request); Ex. 47 at 2 (denying

request of increased funding for fiscal year 2013 entirely); Ex. 48 at 2 (denying request for fiscal

year 2015 entirely); Ex. 34 at 72:25–73:3 (same for fiscal year 2016); Ex. 34 at 79:4–21 (denying

request for three new attorney positions for fiscal year 2017 entirely); Ex. 34 at 95:18–96:11

(denying request for fiscal year 2019 entirely); Ex. 34 at 124:4–18 (granting nearly half the

requested amount for fiscal year 2020); Ex. 34 at 125:1–16 (denying request for fiscal year 2021,

resulting in no investigator position being created for LCPDO); Ex. 55 at 94. By consistently

denying Madsen’s budget requests, the Council has chosen a course of action that results in

chronic underfunding of indigent defense within the County. In so doing, Lexington County has

abdicated its statutory obligation to provide for public defense within the County under the

Indigent Defense Act. See S.C. Code Ann. §§ 17-3-550, 560. And it has done this despite the

clear provisions of the Intergovernmental Agreement between the Eleventh Circuit Public

Defender and the County, which grants the County—not Madsen—the sole authority over

budget and financial policies, employment procedures, and employee benefits. Ex. 36 ¶¶ 4, 6, 8–

11; Ex. 34 at 29:19–30:1; Ex. 58 at 41:16–43:18, 145:14–22.

       Lexington County is violating the Sixth Amendment through a deliberate and continuing

failure to provide sufficient funding to ensure indigent criminal defendants receive adequate

access to court-appointed counsel. Both federal and state courts have found local governments



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liable for violating the Sixth Amendment by failing to invest enough resources and attorneys or

by failing to implement adequate case assignment policies. See, e.g., Miranda v. Clark Cnty., 319

F.3d 465, 471 (9th Cir. 2003) (holding county and municipal policymaker could be liable under

Section 1983 for case assignment policy that was “deliberate[ly] indifferen[t] to the requirement

that every criminal defendant receive adequate representation”); Wilbur, 989 F. Supp. 2d at 1133

(“The Court finds that the combination of contracting, funding, legislating, and monitoring

decisions . . . caused the truncated case handling procedures that have deprived indigent criminal

defendants [of Sixth Amendment rights].”); Tucker, 394 P.3d at 63 (finding standing for Sixth

Amendment right to counsel claim based on allegations of systemic inadequacies in public

defense); Kuren v. Luzerne Cnty., 146 A.3d 715, 718 (Pa. 2016) (recognizing prospective cause

of action for indigent defendants alleging “systemic violations of the right to counsel due to

underfunding”); Hurrell-Harring v. State, 15 N.Y.3d 8, 22–23 (N.Y. 2010) (alleged “inadequate

funding and staffing of indigent defense providers” sufficiently states Sixth Amendment claim).

       The Wilbur case, which held municipalities liable under Section 1983 for operating a

public defense system with “systemic flaws that deprive indigent criminal defendants of their

Sixth Amendment right to the assistance of counsel,” is instructive. 989 F. Supp. 2d at 1131.

There the court found that because of “deliberate choices of City officials charged with the

administration of the public defense system,” the defendant cities made “[i]ntentional choices . . .

while negotiating the public defender contracts and allocating funds to the public defender

system.” Id. at 1132. The court further observed that “[l]egislative and monitoring decisions

made by the policymaking authorities of the Cities ensured that any defects in the public defense

system would go undetected or could be easily ignored.” Id. It found the cities liable due to “the

combination of contracting, funding, legislating, and monitoring decisions made by the[ir]

policymaking authorities,” which led to the systematic deprivation of indigent defendants’ rights

guaranteed by the Sixth Amendment. Id. at 1133.

       This Court should likewise find Lexington County liable for causing systematic

deprivations of indigent defendants’ right to counsel. Until 2013, Lexington County failed to


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provide even a single public defender to the thousands of people prosecuted in the LCMC each

year, despite the U.S. Supreme Court’s longstanding precedent that public defenders must be

made available to indigent defendants facing misdemeanor charges with a potential for

incarceration. Ex. 47 at 1; Ex. 34 at 62:8–64:15. From 2013 to 2019, only one public defender

was assigned to the LCMC, and that attorney could handle only a fraction of the cases being

prosecuted in that jurisdiction. Ex. 47 at 1; Ex. 34 at 62:8–64:15, 124:4–18.

       Plaintiffs’ expert Monahan found that as a conservative estimate, only 9% of cases

pending in the LCMC in 2019 involved a public defender, which is substantially lower than the

70% appointment rate for public defenders in the County’s General Sessions Court. Monahan

Decl., Ex. A at 17–18. Due to the Council’s repeated denial of Madsen’s requests for additional

funding, there are currently only two public defenders assigned to represent indigent defendants

in the LCMC and only enough funding for three. Id. at 20–21; Ex. 21 at 337:23–338:3. Every

public defender to take cases in the LCMC has had an average caseload well in excess of the

ABA standard of 400 misdemeanor cases. Ex. 56 at 216; Ex. 57 at 7; Ex. 34 at 129:19–130:7; see

also Monahan Decl., Ex. A at 24–25. Without more funding from the County, the current public

defenders can only handle a small fraction of the total caseload, and thousands of indigent people

each year continue to go without access to court-appointed counsel. Ex. 34 at 130:13–15;

Monahan Decl., Ex. A at 25 (noting “between 5,312 to 6,185 persons were likely indigent but

were not appointed counsel in 2019 cases in [the LCMC]”).

       In Bairefoot v. City of Beaufort, S.C., the court relied on Wilbur to find that “Plaintiffs

have shown that the constitutional deprivations at issue . . . were the direct and predictable result

of the deliberate choices of City officials charged with the administration of the public defense

system.” 312 F.Supp.3d 503, 511 (D.S.C. 2018) (quoting Wilbur, 989 F. Supp. 2d at 1132). This

Court has already found the reasoning in Bairefoot persuasive to its analysis of Heck v.

Humphrey and the Rooker-Feldman doctrine, and the Court cited Bairefoot for the proposition

that “the municipalities’ failure to provide counsel is actionable under federal law.” See ECF No.

107 at 17 (quoting Bairefoot, 312 F.Supp.3d at 511). Here, as in Bairefoot, “it was foreseeable


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that Defendants’ failure to provide for indigent defense” would result in systemic violations of

the Sixth Amendment. Bairefoot, 312 F.Supp.3d at 512. The Bairefoot court noted that the

defendants in that case were “on notice that they had a duty to provide counsel . . . [when] in

2013 . . . the ACLU brought the issue to Defendants’ attention.” Id.

       Lexington County was similarly on notice both of its duty to provide counsel under the

Sixth Amendment and of its systemic failure to do so. As set forth above, Supreme Court

precedent—spanning across decades—has made clear that indigent defendants facing

incarceration for misdemeanor violations have the right to an attorney. And almost every budget

request that Madsen submitted to the Council was accompanied by a series of reminders and

supporting evidence that the County was failing to adequately fund the LCPDO. See Ex. 38 at 16

(informing Council that the caseloads of attorneys in the Public Defender’s Office already

“greatly exceed[ed]” the maximum caseload set by the ABA); Ex. 49 at 1 (informing Council

that caseloads increased by more than 600 new clients per year and that there were significant

problems with current infrastructure); Ex. 45 (informing Council that Lexington County had the

highest average caseload per attorney out of the sixteen judicial circuits in the state, more than

double the ABA standard); Ex. 40 at 42–43 (informing Council that the County ranked 37th out

of 46 counties in per capita funding of public defenders’ offices, and that another year without

increased funding would have a “catastrophic” effect on the County’s jail population); Ex. 53 at

1 (2019 letter noting that the County historically failed to fund public defense LCPDO relative to

similarly populated counties and the Solicitor’s Office). Madsen testified that an increase in

dedicated staffing for the LCMC would mean public defenders could represent more

individuals—but in the absence of more funding from the County, the LCPDO cannot do

anything more to “meet[] the rights of people accused in the magistrate court.” Ex. 34 at 130:13–

15, 153:1–9.

       Because the uncontested facts demonstrate that Lexington County has systematically

underfunded the LCPDO and caused the systematic deprivation of counsel to indigent

defendants, the Court should hold that Lexington County is violating the Sixth Amendment.


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               3.      Comprehensive equitable relief is appropriate to remedy Lexington
                       County’s failure to provide counsel to indigent defendants in the
                       Lexington County Magistrate Court.

        When the Constitution is violated, trial courts have “virtually boundless discretion in

crafting remedies.” Missouri v. Jenkins, 515 U.S. 70, 124–25 (1995) (Thomas, J., concurring)

(emphasis added); accord N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 239 (4th Cir.

2016). In cases similar to the one brought by Plaintiffs here, the chosen remedy has taken the

form of sweeping injunctive relief accompanied by compliance monitoring. See, e.g., Wilbur,

989 F. Supp. 2d at 1334–37 (requiring, inter alia, re-evaluation of public defender contracts,

hiring of public defense supervisor, and three years of monitoring). Similar relief is necessary

here.

        Plaintiffs and Class Members ask the Court to order Lexington County to hire an

independent consultant to determine the resources necessary to fulfill Gideon’s promise in the

LCMC and to take immediate steps to gain compliance with those recommendations. Until

Lexington County can meet this constitutional requirement, Plaintiffs ask the Court to prohibit

the LCMC from jailing any defendant for whom a public defender cannot be assigned.

        B.     The Chief and Associate Chief Judges are liable under Section 1983 for the
               uniform debt collection policies and procedures within Lexington County
               Magistrate Courts.

        In South Carolina, Chief and Associate Chief Magistrate Judges are responsible for

fulfilling certain administrative duties. As recounted in the Statement of Facts, see supra SOF

Part III.A, and discussed in greater detail below in Part III.B, these duties include establishing

uniform practices for collecting court-imposed financial obligations—responsibilities which are

characterized by the South Carolina Supreme Court as “administrative” in nature.

        Plaintiffs were denied the assistance of counsel under uniform debt collection policies

and procedures overseen by the Chief and Associate Chief Judges, resulting in violations of their

rights under the Sixth Amendment. See supra SOF Parts I–II. Specifically, the Chief and

Associate Chief Judges administratively sanctioned and implemented a practice of arresting and




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jailing indigent defendants on bench warrants for nonpayment of fines and fees—and this

routinely occurred without the provision of counsel. Id. Plaintiffs Twanda Brown, Sasha Darby,

and Raymond Wright, Jr. were each deprived of their Sixth Amendment right to counsel under

the Default Payment Policy. ECF No. 66-1 ¶¶ 3–7, 13–14 (Brown); ECF No. 66-2 ¶¶ 13–17, 26–

27 (Darby); Wright Decl. ¶¶ 2–3, 8–10. These three Plaintiffs appeared in the Lexington County

Magistrate Court in 2016 without assistance of counsel, were found guilty on misdemeanor

charges, and received sentences of incarceration suspended on the payment of fines and fees

ranging from $666.93 to $2,337.50; none could afford to pay the total fines and fees at the time

of sentencing, so they each entered into a scheduled time payment agreement with the court.

ECF No. 66-1 ¶¶ 3–7, 13–14 (Brown); ECF No. 66-2 ¶¶ 13–17, 26–27 (Darby); Wright Decl. ¶¶

2–3, 8–10.

       Plaintiffs Cayeshia Johnson, Amy Palacios, Nora Corder, and Xavier Goodwin were each

deprived of their Sixth Amendment right to counsel under the Trial in Absentia Policy. Johnson

Decl. ¶¶ 13–16; ECF No. 66-3 ¶¶ 19–20 (Palacios); ECF No. 66-4 ¶¶ 17–20 (Corder); ECF No.

66-5 ¶¶ 10–14 (Goodwin). These four Plaintiffs were tried in their absence in 2016 or 2017

without the assistance of counsel, found guilty on misdemeanor charges, and received sentences

of incarceration suspended on the payment of fines and fees ranging from $647.50 to $1,710.

Johnson Decl. ¶¶ 13–16; ECF No. 66-3 ¶¶ 19–20 (Palacios); ECF No. 66-4 ¶¶ 17–20 (Corder);

ECF No. 66-5 ¶¶ 10–14 (Goodwin).

       When Plaintiffs were unable to pay the fines and fees they owed, whether under the

Default Payment Policy or the Trial in Absentia Policy, the Lexington County Magistrate Courts

issued bench warrants ordering their arrest and incarceration unless they could pay the fines and

fees listed on the face of the bench warrant. ECF No. 66-1 ¶¶ 8–12 (Brown); ECF No. 66-2 ¶¶

17–19, 23–25 (Darby); Wright Decl. ¶¶ 2–3; Johnson Decl. ¶¶ 11–14; ECF No. 66-3 ¶¶ 12–18

(Palacios); ECF No. 66-4 ¶¶ 17–20 (Corder); ECF No. 66-5 ¶¶ 9–14 (Goodwin). Each Plaintiff

was arrested on such a bench warrant and transported to the Lexington County Detention Center;

none could afford to pay the total amount of fines and fees listed on the face of the bench


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warrant, so they were incarcerated for periods of time between seven and sixty-three days. ECF

No. 66-1 ¶¶ 8–12 (Brown); ECF No. 66-2 ¶¶ 17–19, 23–25 (Darby); Wright Decl. ¶¶ 2–3;

Johnson Decl. ¶¶ 11–14; ECF No. 66-3 ¶¶ 12–18 (Palacios); ECF No. 66-4 ¶¶ 17–20 (Corder);

ECF No. 66-5 ¶¶ 9–14 (Goodwin).

       Evidence shows that these Sixth Amendment violations are typical of other criminal

defendants who were subject to Lexington County’s Default Payment and Trial in Absentia

Policies. See ECF No. 21-5 ¶¶ 4–11; ECF No. 21-8 ¶¶ 4–12, 17; ECF No. 40-1; ECF No. 43-1

¶¶ 9–12; Ex. 17; Ex. 11; Ex. 7 at 148:11–17. Thus, prospective declaratory and injunctive relief

is necessary to guard against future violations of the Sixth Amendment by the Chief and

Associate Chief Judges.

III.   Plaintiffs and Class Members are entitled to summary judgment on their
       Fourteenth Amendment claim under Bearden v. Georgia (Claim One).
       A.      Bearden v. Georgia’s constitutional requirements under the Fourteenth
               Amendment are long-standing and well known.

       The Supreme Court has long held that a state cannot “impose a fine as a sentence and

then automatically convert it into a jail term solely because the defendant is indigent and cannot

forthwith pay the fine in full.” Bearden v. Georgia, 461 U.S. 660, 667 (1983) (quoting Tate v.

Short, 401 U.S. 395, 398 (1971)). To prevent this injustice, the Fourteenth Amendment requires

that, before a court imposes a jail sentence for an individual’s failure to pay court fines or fees, it

must conduct a meaningful inquiry into the individual’s reasons for failing to pay. Alkire v.

Irving, 330 F.3d 802, 816 (6th Cir. 2003) (citing Bearden, 461 U.S. at 672). At that hearing, the

court must consider the following factors: (1) the debtor’s income and assets (i.e., ability to pay);

(2) the debtor’s efforts to secure resources to pay; and (3) the existence and adequacy of

alternative punishments to incarceration for those who made reasonable efforts and still could

not afford to pay. Bearden, 461 U.S. at 672. The Fourteenth Amendment’s prohibition on jailing

indigent people is well established in both the Fourth Circuit and the South Carolina Supreme

Court. See, e.g., Alexander v. Johnson, 742 F.2d 117, 126 (4th Cir. 1984) (applying Bearden to



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probation violations); Dangerfield v. State, 656 S.E.2d 352 (S.C. 2008) (requiring notice and

hearing to determine whether defendant’s nonpayment of restitution was willful).

        The requirements of Bearden are widely known, and both state and federal entities have

pursued initiatives to rectify violations of those requirements. For example, the Conference of

State Court Administrators issued a policy paper explaining that Bearden has long prohibited

courts from jailing individuals who are unable to pay their legal financial obligations:

            Three decades ago, the United States Supreme Court in Bearden held it is
            unlawful to incarcerate an offender for court debt absent proof of willful
            failure to pay. Today the members of COSCA dedicate our efforts to
            assisting the judges and court staff we support to achieve routinely what is
            stated in Bearden.

Arthur W. Pepin, The End of Debtors’ Prisons: Effective Court Policies for Successful

Compliance with Legal Financial Obligations 27 (2016) (emphasis added).

        Similarly, the U.S. Department of Justice (DOJ) issued a “Dear Colleague” letter

emphasizing “basic constitutional principles relevant to the enforcement of fines and fees.” Ex.

13 at 1. In the letter, the DOJ emphasized that “[c]ourts must not incarcerate a person for

nonpayment of fines and fees without first conducting an indigency determination and

establishing that failure to pay was willful.” Id. South Carolina Court Administration sent this

letter to all state court judges, including then-Chief Judge Reinhart, in 2016 via its email

distribution list. Id.

        Despite these firmly rooted principles, it is undisputed that, for decades, the LCMC

routinely and automatically issued nonpayment bench warrants that called for the arrest and

immediate jailing of individuals with unpaid court debts without providing a constitutionally

required pre-deprivation hearing on ability to pay. See supra SOF Part II; see also Ex. 10 at

130:24–132:3; Ex. 5 at 159:12–23, 170:9–17, 215:16–20; Ex. 11; Ex. 7 at 182:18–183:8 (“When

we recalled bench warrants, I saw bench warrants that went back to when I was in high

school . . . . I graduated in ’84 from high school.”). Defendants Reinhart and Adams both

testified that during their tenures as Chief and Associate Chief Judges of Lexington County,



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spanning almost two decades, this was the standard operating procedure across the LCMC. See

supra SOF Part II; see also Ex. 10 at 130:24–132:3; Ex. 5 at 159:12–23, 170:9–17, 215:16–20;

Ex. 11; Ex. 7 at 182:18–183:8. Lexington County’s Court Administrator agreed. Ex. 10 at

130:24–132:3. Pursuant to these unconstitutional practices, thousands of indigent people—

including Plaintiffs Brown, Darby, Johnson, Palacios, Corder, Goodwin, and Wright—were

arrested and incarcerated for nonpayment of court debt without receiving any of Bearden’s

mandatory protections. In light of Bearden’s firmly rooted and well-known principles, the Chief

and Associate Chief Judges’ conduct is shocking.

       Undisputed facts demonstrate that the Chief and Associate Chief Judges are liable under

Section 1983 for violating Plaintiffs’ and Class Members’ Fourteenth Amendment rights (Claim

One). Plaintiffs and Class Members seek entry of summary judgment, as well as awards of

prospective declaratory and injunctive relief, for these Bearden violations.

       B.      The Chief and Associate Chief Judges are liable under Section 1983 for causing
               violations of Plaintiffs’ and Class Members’ Fourteenth Amendment rights.

       The Chief and Associate Chief Judges have caused Plaintiffs and Class Members to

suffer constitutional injuries in two distinct but related ways: (1) by sanctioning, implementing,

and failing to remediate uniform, unconstitutional policies and procedures for the collection of

fines and fees; and (2) by failing to adequately supervise the other magistrate judges in
Lexington County. See supra Argument Section I.

               1.      The Chief and Associate Chief Judges are liable in their roles as
                       policymakers for sanctioning and implementing debt collection policies
                       that caused Constitutional injuries.

       Individual policymakers can be held personally liable under Section 1983 for harms that

result from their acts or omissions. See, e.g., Gordon, 937 F.3d at 362 (person injured by

unconstitutional policy can pursue damages against “official who created or enforced that

policy”); Taylor v. Mich. Dep’. of Corr., 69 F.3d 76, 81–82 (6th Cir. 1995) (officer liable for

“abandoning the specific duties of his position,” which included “adopting and implementing an

operating procedure”); Carnaby v. City of Houston, 636 F.3d 183, 189 (5th Cir. 2011) (“Under


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§ 1983 . . . the extent of [an official’s] liability as a supervisor is similar to that of a municipality

that implements an unconstitutional policy.”). As the Fourth Circuit explained in Gordon, failing

to hold officials accountable for the harms caused by their act and omissions “would

encourage . . . officials to turn a blind eye to the real-world consequences of their policymaking

and permit them to escape liability for constitutional harms caused by their decisions.” 937 F.3d

at 362. What must be proven in all Section 1983 official-capacity lawsuits is that the defendant is

the final policymaker for the government with respect to the act or omission being challenged.

The official must be one who “speak[s] with final policymaking authority . . . concerning the

action alleged to have caused the particular constitutional or statutory violation at issue.” Jett v.

Dallas Indep. Sch. Dist., 491 U.S. 701, 737 (1989).

        To demonstrate an official’s personal liability as a policymaker, a plaintiff must show

that “(1) the defendant promulgated, created, implemented or possessed responsibility for the

continued operation of a policy that (2) caused the complained of constitutional harm, and (3)

acted with the state of mind required to establish the alleged constitutional deprivation.” Dodds

v. Richardson, 614 F.3d 1185, 1199 (10th Cir. 2010) (finding sheriff personally liable under

Section 1983 for “acquiescing” in clerk of court’s unconstitutional jail policies); see also Clay v.

Conlee, 815 F.2d 1164, 1170 (8th Cir. 1987) (government official’s policy must be “moving

force” behind constitutional violation for Section 1983 liability). Where an official “advanc[es] a

policy that requires subordinates to commit constitutional violations,” Section 1983 liability is

established “no matter what the required mental state, so long as the plaintiff’s constitutional

injury in fact occurs pursuant to that policy.” OSU Student All. v. Ray, 699 F.3d 1053, 1076 (9th

Cir. 2012).

        The Tenth Circuit’s analysis in Dodds is instructive. There, an action was brought on

behalf of an arrestee who was “overdetain[ed]”—that is, incarcerated for longer than allowable

under the constitution. Dodds, 614 F.3d at 1192. The plaintiff sued the sheriff of the jail, alleging

the sheriff’s failure to execute his policymaking responsibilities in a constitutional manner

caused the plaintiff to be overdetained. Id. at 1190. The sheriff disagreed, arguing he was not


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liable because he was merely acquiescing in a long-standing policy. Id. at 1190–91. In finding

for the plaintiff, the Tenth Circuit explained that the sheriff was the final policymaker for the jail

and that “[r]egardless of who first drafted the policies, [state] law charged Defendant as sheriff

with the responsibilities of running the county jail and accepting bail from all arrestees” and

“under [the sheriff’s] watch,” “the policies which caused Plaintiff’s constitutional injury

continued to operate.” Id. at 1203. In Dodds, the Defendant’s knowledge of the existence and

operation of a policy that caused constitutional injury—and over which he had authority—was

sufficient to establish liability. Id. at 1203–4.

        The Chief and Associate Chief Judges’ conduct meets the requirements of the Dodds test.

First, like the sheriff in Dodds, final policymaking authority over summary court debt collection

procedures in Lexington County is held by the Chief and Associate Chief Judges. See, e.g., Ex. 2

¶ 5; see also Ex. 3 ¶ 5. Thus, they are responsible for the effects of unconstitutional debt

collection policies and procedures in Lexington County. The fact that Defendant Adams, as

Chief Judge of the LCMC, initiated a recall of thousands of nonpayment bench warrants and

implemented the Setoff Debt Program shows that she—like the Chief Judges before and after

her—held final policymaking authority over these debt collection practices. See Ex. 17

(Defendant Adams directing the LCMC Court Administrator to “have all Lexington County

Magistrate Court Bench Warrants temporarily recalled.”); Ex. 5 at 209:16–24; Ex. 6 at 326:16–

24, 352:23–353:7; Ex. 10 at 198:2–13; see also Ex. 25 (Defendant Adams asking magistrate

judge to investigate implementation of SDP). Second, those policies and procedures caused

countless systemic Bearden violations. Plaintiffs and thousands of Class Members were arrested

and incarcerated for failure to pay fines and fees without ability-to-pay determinations to

establish that nonpayment was willful. See supra SOF Parts I–II. Finally, the Chief and

Associate Chief Judges were aware of, sanctioned, and implemented the debt collection practices

at issue. Ex. 7 at 162:19–25, 165:2–14, 167:22–168:12; Ex. 5 at 158:19–159:2; see also Ex. 6 at

331:19–332:3. They understood and intended that these policies would result in jailing for

nonpayment without a pre-deprivation hearing—thereby, establishing the requisite state of mind.


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          Like the sheriff in Dodds, the Chief and Associate Chief Judges allowed the policies and

procedures at issue here to continue to operate for decades, in blatant violation of clearly

established constitutional law. Thus, as the responsible policymakers, the Chief and Associate

Chief Judges are liable for causing Plaintiffs’ and Class Members’ constitutional injuries.

                 2.      The Chief and Associate Chief Judges are liable in their supervisory
                         capacities for causing Bearden violations.

          The Chief and Associate Chief Judges are also liable for the Bearden violations suffered

by Plaintiffs and Class Members based on an abdication of supervisory responsibilities.

“Supervisory liability occurs either when the supervisor personally participates in the alleged

constitutional violation or when there is a causal connection between actions of the supervising

official and the alleged constitutional deprivation.” Brown v. Crawford, 906 F.2d 667, 671 (11th

Cir. 1990). To meet this standard, a plaintiff must show that the defendant had a supervisory

relationship with the culpable actors and (1) that the defendant had actual or constructive

knowledge that a subordinate was engaged in conduct posing “a pervasive and unreasonable risk

of constitutional injury”; (2) that the defendant responded to the knowledge so inadequately as to
show “deliberate indifference to or tacit authorization of the alleged offensive practices”; and (3)

that there was a causal link between the supervisor’s inaction and the particular constitutional

injury suffered by the plaintiff. Wilkins v. Montgomery, 751 F.3d 214, 226 (4th Cir. 2014); see
also Foster v. Fisher, 694 F. App’x 887, 889 (4th Cir. 2017) (applying Wilkins test to state chief

judge).

          A supervisory relationship can be established by, inter alia, (a) an overarching

responsibility to maintain a lawful and safe system or to monitor conduct within that system; or

(b) where statutes or administrative codes explicitly enumerate supervisory and policymaking

responsibilities. See, e.g., Wilkins, 751 F.3d at 228 (administrative director of hospital had non-

delegable obligation “to provide a safe environment for patients”). “[S]tate statutes fixing the

administrator’s legal duties provide a useful guide in determining who had the responsibility and

capability to end the offensive practices.” Slakan, 737 F.2d at 373 (awarding damages against


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prison administrators). In Slakan, a case brought against prison officials, the Fourth Circuit found

that the statutory authority and responsibility to “implement policies governing the treatment of

[incarcerated people]” and to exercise general “administrative control and direction” over the

correctional facility convincingly established supervisory liability. Id. at 374; see also Foster v.

Fisher, 2016 WL 900654, at *12 (W.D.N.C. Mar. 9, 2016), aff’d, 694 F. App’x 887 (4th Cir.

2017) (referencing statutes or regulations showing oversight duties or responsibilities as

evidence of supervisory relationship).

       The Chief and Associate Chief Judges’ supervisory authority over the LCMC is

established through the South Carolina Supreme Court orders assigning them supervisory and

administrative duties, including the responsibility to monitor summary court judges to ensure

that they act in accordance with the Constitution; to establish uniform procedures across

summary courts, including debt collection procedures; to convene quarterly meetings of the

summary court judges; and to report non-compliance of summary court judges to the SCCA.

Exs. 2 & 3.

       Defendants executed their assigned supervisory and administrative authority as the Chief

and Associate Chief Judges in numerous ways. For example, Defendant Reinhart testified that

his responsibilities as Chief Judge included, inter alia, setting the schedule for the Central Court,

creating the weekend Bond Court schedule, supervising Lexington County’s Chief Court

Administrator, exercising general responsibility for the central courts and central court staff, and

budgeting. Ex. 7 at 94:10–23. Defendant Adams, as Chief Judge, was also obligated to report

instances of constitutional violations occurring in magistrate courts to the SCCA, supervised and

coordinated magistrate judges in establishing new county-wide administrative procedures, set the

agenda for quarterly magistrate meetings, and supervised all the central courts’ staff and

conducted their evaluations. See, e.g., Ex. 6 at 278:17–279:5, 271:10–276:23, 344:6–10; see id.

at 291:9–14 (“[t]here was a lot to do . . . meetings to go to and other staff to supervise”); Ex. 25.

Thus, it is clear that the Chief and Associate Chief Judges possessed supervisory authority over

the LCMC.


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       Once supervisory responsibility has been established, a plaintiff must establish that the

conduct at issue presented a “pervasive and unreasonable risk of constitutional injury.” Wilkins,

751 F.3d at 226. This prong requires “evidence that the conduct is widespread, or at least has

[occurred] on several different occasions,” and that the conduct “poses an unreasonable risk of

harm of constitutional injury.” Id. There must also be evidence that the supervisor had actual or

constructive knowledge of the conduct. Id. “The prevalence of [a] practice itself [is] a

circumstantial indication that administrators at all levels [know] and approve of [the practice].”

Slakan, 737 F.2d at 375. It is undisputed that the Chief and Associate Chief Judges were aware

of and sanctioned the policies and procedures that led to widespread and systemic arrest and

jailing of people for nonpayment without a pre-deprivation hearing across Lexington County.
       The second prong of Wilkins requires proof of “deliberate indifference” or “tacit

authorization,” Wilkins, 751 F.3d at 227, which can be shown by “a supervisor’s continued

inaction in the face of documented widespread abuses.” Slakan, 737 F.2d at 373. The Chief and

Associate Chief Judges were aware of the widespread practices at issue here. Ex. 10 at 130:24–

132:3; Ex. 5 at 159:12–23, 170:9–17, 215:16–20. Nonetheless, they failed to exercise their

supervisory authority, laid out in the Supreme Court order, to intervene and prevent these abuses.

For example, they did not report this practice to the SCCA, which might have resulted in

remediation; indeed, even upon receiving the DOJ’s “Dear Colleague” letter in 2016, Judge

Reinhart failed to report to the SCCA that practices similar to those described in the letter were

occurring throughout Lexington County. Ex. 7 at 162:19–25, 167:22–168:12, 165:2–14. Nor did

they discuss ways to halt or alter these practices with summary court judges, id. at 165:16–

167:12, despite ongoing quarterly meetings to discuss other uniform policies and procedures, Ex.

3 ¶¶ 5, 7–8, 11–12, 17, 19; Ex. 6 at 271:10–276:23.

       Further, the Chief and Associate Chief Judges were aware of the availability of the Setoff

Debt Program as an alternative method of court debt collection as early as 2015, but they made

no attempt to implement the program until late 2017. See Ex. 6 at 302:9–303:14; Ex. 24; Ex. 20.

In other words, the Chief and Associate Chief Judges failed to take the necessary corrective


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action available to them under their supervisory authority—action that would have prevented

Plaintiffs and Class Members from being unconstitutionally arrested and incarcerated. Rather,

the Chief and Associate Chief Judges knowingly allowed this practice to proceed unchecked for

years. See, e.g., Ex. 5 at 56:14–23, 159:12–23, 170:9–17, 215:16–20; Ex. 7 at 143:2–145:11; Ex.

10 at 80:5–12, 130:24–132:3, 131:7–15; Ex. 11. The Chief and Associate Chief Judges’ inaction

in the face of widespread and systemic practices resulting in Bearden violations establishes not

just their tacit authorization of these unconstitutional policies and procedures but also their

explicit authorization and deliberate indifference to the harm they caused.

       The third prong of the Wilkins test requires a showing of causation between the

supervisor’s inaction and the constitutional injury suffered. “[P]roof of causation may be

direct . . . where the policy commands the injury of which the plaintiff complains . . . or may be

supplied by the tort principle that holds a person liable for the natural consequences of his

actions.” Wilkins, 751 F.3d at 226–27 (internal quotation marks and alterations omitted); Slakan,

737 F.2d at 376 (lack of administrative policy invited abuses); Gordon, 937 F.3d at 360 (failure

to rescind guidelines could have caused harm). The Chief and Associate Chief Judges failed to

take the necessary corrective action available to them under their supervisory authority to

prevent Plaintiffs’ and Class Members’ constitutional injuries. Instead, as noted above, they

sanctioned and implemented a mechanism for the collection of court debt that caused the injuries

suffered by Plaintiffs and Class Members, that mechanism being the widespread policy and

practice of using nonpayment bench warrants to arrest and jail people without Bearden hearings.

       Thus, the Chief and Associate Chief Judges are liable in their policymaking and

supervisory capacities for pervasive and widespread Bearden violations across Lexington

County.




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IV.    Prospective declaratory and injunctive relief against the Chief and Associate Chief
       Judges is necessary to prevent future violations of the Sixth and Fourteenth
       Amendments (Claims One and Two).

       Plaintiffs Xavier Goodwin and Raymond Wright, Jr. bring Claims One and Two on

behalf of themselves and the certified Class, seeking prospective declaratory and injunctive relief

enjoining the offices of the Chief and Associate Chief Judges of Lexington County for

Administrative Purposes from overseeing, sanctioning, or promoting a policy or standard

operating procedure that allows for jailing for nonpayment of fines and fees without first: (1)

conducting a judicial hearing to determine whether nonpayment was willful, as required by

Bearden v. Georgia, and (2) appointing counsel, as required by the Sixth Amendment. This relief

would enter against the current Chief and Associate Chief Judges, Defendants Johnson and

Morgan, in their official capacities. Under the law and undisputed facts, the requested relief is

appropriate.

       It is well established that individuals may sue state officials to enjoin ongoing

constitutional violations. Ex parte Young, 209 U.S. 123, 155–56 (1908). This right extends to

acts that, although performed by judges, are fundamentally non-adjudicative in nature. 42 U.S.C.

§ 1983; see also Forrester v. White, 484 U.S. 219, 227 (1988); Morrison v. Lipscomb, 877 F.2d

463, 466 (6th Cir. 1989) (chief judge could be liable for ordering moratorium on issuance of

writs of restitution because act arose from “delegated administrative authority”); Ratte v.

Corrigan, 989 F. Supp. 2d 550, 559 (E.D. Mich. 2013) (judge could be liable for mass pre-

signing of removal order forms because act was one of administrative policymaking).

       Given the longstanding use of unconstitutional debt collection policies and procedures

throughout Lexington County and the lack of any binding order preventing the Chief and

Associate Chief Judges from reverting back to unconstitutional practices, such relief is

necessary. The impropriety of Lexington County’s debtors’ prison scheme is not in dispute.

Section 1983 authorizes the requested relief because the injunction will only run against the

Chief and Associate Judges’ non-adjudicative, policymaking and supervisory authority to

establish post-sentencing debt collection procedures. Because the offices of the Chief and


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Associate Chief Judge bear administrative responsibility for establishing and supervising debt

collection procedures, Claims One and Two for prospective declaratory and injunctive relief are

cognizable under Section 1983. The requested relief should be granted.

V.      Plaintiffs are entitled to summary judgment and monetary damages on their Sixth
        and Fourteenth Amendment claims (Claims Four and Five).

        Plaintiffs are entitled to monetary damages against Defendants Reinhart and Adams in

their individual capacities as administrators, policymakers, and supervisors (Claims Four and

Five). As demonstrated supra in Parts II.B and III.A, Defendants Reinhart and Adams sanctioned

and implemented the unconstitutional debt collection procedures that led to Plaintiffs being

unlawfully incarcerated—without appointment of counsel and without any determination that

their nonpayment was willful—for periods ranging from seven to sixty-three days, in violation of

their Sixth and Fourteenth Amendment Rights. ECF No. 66-1 ¶¶ 3–7, 13–14 (Brown); ECF No.

66-2 ¶¶ 13–17, 26–27 (Darby); ECF No. 66-3 ¶¶ 19–20 (Palacios); ECF No. 66-4 ¶¶ 17–20

(Corder); ECF No. 66-5 ¶¶ 10–14 (Goodwin); Johnson Decl. ¶¶ 13–16; Wright Decl. ¶¶ 8–10.

Plaintiffs suffered injuries as a result. Brown was jailed and separated from her children for
nearly two months and lost her job as a result. ECF No. 66-1 ¶¶ 12, 15–16. Darby was jailed for

twenty days, did not get prenatal care or sufficient food while in jail, and her incarceration

caused her to lose her job and home. ECF No. 66-2 ¶¶ 23–25, 28–31. Johnson was jailed for
fifty-five days, during which time she was separated from her children, lost all three part-time

jobs she held before her arrest, and suffered emotional distress and headaches. Johnson Decl. ¶¶

14, 17–20. Wright was jailed for seven days, during which he suffered severe intestinal bleeding.

Wright Decl. ¶ 4–7. Palacios was jailed and separated from her children for twenty-one days.

ECF No. 66-3 ¶¶ 12–18, 21–23. As a result, she lost her job and suffered emotional distress and

ill health while she was incarcerated. Id. Corder was jailed for fifty-four days, and as a result, she

lost her home and job. ECF No. 66-4 ¶¶ 17–21. Goodwin was jailed for sixty-three days, during

which time he lost his home and the job he had held for thirteen years, was separated from his

family, and suffered emotional distress and headaches. ECF No. 66-5 ¶¶ 9, 12, 15–18.


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       The law and the facts conclusively demonstrate liability for Plaintiffs’ individual injuries

here. Thus, Plaintiffs ask this Court to find that liability has been proven as a matter of law and

to set a jury trial to determine the amounts of damages to which Plaintiffs are entitled. See, e.g.,

St. Jude Med., S.C., Inc. v. Biosense Webster, Inc., 994 F. Supp. 2d 1033, 1044 (D. Minn. 2014),

aff'd in part, 818 F.3d 785 (8th Cir. 2016) (finding liability against defendant as a matter of law

and leaving damages for determination at trial).

VI.    Plaintiff Goodwin is entitled to summary judgment and prospective declaratory
       relief on his Sixth and Fourteenth Amendment claims against Defendant Adams, in
       her official capacity as Irmo Magistrate Judge (Claims Seven and Eight).

       Plaintiff Goodwin should be granted summary judgment for his claims under the Sixth

and Fourteenth Amendments because he faces a real and immediate threat of future arrest and

incarceration for his inability to pay fines and fees he owes the Irmo Magistrate Court. ECF No.

35-1 ¶¶ 18, 21–24; Ex. 1. The undisputed facts show that Goodwin has faced, and continues to

face, a substantial and imminent risk of arrest and incarceration without being afforded his Sixth

Amendment right to counsel. See supra Argument Section II. Prospective declaratory relief

would also provide certainty and security regarding Plaintiff Goodwin’s constitutional rights

under the Fourteenth Amendment, preventing future Bearden violations. See supra Argument

Section II. Absent relief, these risks are ongoing.

       District courts “have great latitude in determining whether to assert jurisdiction

over declaratory judgment actions.” Aetna Cas. & Sur. Co. v. Ind-Com Elec. Co., 139 F.3d 419,

422 (4th Cir. 1998). Generally, courts should entertain a declaratory judgment action when they

find that declaratory relief: “(1) will serve a useful purpose in clarifying and settling the legal

relations in issue, and (2) will terminate and afford relief from the uncertainty, insecurity, and

controversy giving rise to the proceeding.” Id. (internal quotation and citation omitted). Without

a declaratory judgment, there is nothing to ensure that Defendant Adams will not reissue a

nonpayment bench warrant against Goodwin requiring automatic arrest and incarceration without

a Bearden hearing, and without providing him access to counsel.



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       This Court should exercise its broad discretion and provide Goodwin clarity and relief

from uncertainty.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully ask the Court to grant their motion for

summary judgment on the Sixth and Fourteenth Amendment claims and enter an order

establishing Defendants’ liability to Plaintiffs and the certified Class on Claims One and Two;

establishing Defendant Adams’s liability to Plaintiff Goodwin on Claims Seven and Eight;

establishing Defendants’ liability to Plaintiffs on Claims Four and Five; granting the requested

prospective declaratory and injunctive relief on Claims One and Two; and granting the requested

prospective declaratory relief on Claims Seven and Eight.

       Date: April 11, 2022
                                      Respectfully submitted,

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